 
 
                         
                              
                                     
                                          
                                                  
                                                     
                                                        
                     Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 1 of 60




            1

            2

            3

            4

            5

            6

            7

            8                                     UNITED STATES DISTRICT COURT
            9                                    NORTHERN DISTRICT OF CALIFORNIA
           10                                          SAN FRANCISCO DIVISION
           11     DESIREE SCHMITT, individually and on            Case No. 3:21-cv-03355-WHO
                  behalf of all others similarly situated,
           12
                                   Plaintiffs,                    SETTLEMENT AGREEMENT AND
           13                                                     RELEASE
                           vs.
           14
                  SN SERVICING CORPORATION, an Alaska             Case Assigned to Hon. William H. Orrick
           15     Corporation,
           16                      Defendant                      Complaint Filed:    March 12, 2021
                                                                  Trial Date:         None Yet
           17

           18

           19

           20

           21

           22

           23

           24

           25

           26

           27

           28                                          EXHIBIT 1
                                                                  1
                                              SETTLEMENT AGREEMENT AND RELEASE
                                                    Case No. 3:21-cv -03355-WHO
 
 
                         
                              
                                     
                                          
                                                  
                                                     
                                                        
                     Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 2 of 60




            1                               SETTLEMENT AGREEMENT AND RELEASE
            2              This Settlement Agreement (“Agreement”) is made and entered into by and among Plaintiff

            3     Desiree Schmitt (“Plaintiff”), individually and on behalf of the Settlement Class, and Defendant

            4     SN Servicing Corporation (“Defendant”), by and through their respective counsel.

            5                                                  RECITALS
            6              WHEREAS, on March 12, 2021, Plaintiff filed a class action complaint (the “Complaint”)

            7     in the United States District Court for the Northern District of California (the “Court”) entitled

            8     Schmitt v. SN Servicing Corporation, Case No. 3:21-cv-03355-WHO (the “Litigation”);

            9              WHEREAS, Defendant filed Motions to Dismiss Plaintiff’s original Complaint and the

           10     First Amended Class Action Complaint;

           11              WHEREAS, on November 23, 2021, Plaintiff filed the Second Amended Class Action

           12     Complaint (“SAC”);

           13              WHEREAS, the SAC asserts claims against Defendant for: 1) Negligence; and 2) Unfair

           14     Competition Law, Bus. & Prof. Code § 17200, et seq., arising from the “Security Incident,” as such

           15     term is defined in ¶ 1.34 hereof;

           16              WHEREAS, the Settling Parties exchanged informal discovery regarding the Security
           17     Incident, the Representative Plaintiff’s claims and Defendant’s defenses; and participated in good
           18     faith, arm’s-length settlement discussions during a day-long mediation with the Honorable Herbert
           19     Hoffman of Judicate West (the “Mediator”) via videoconference on February 17, 2022, through
           20     which the basic terms of a settlement were negotiated and finalized;
           21              WHEREAS, Class Counsel conducted a thorough examination and evaluation of the
           22     relevant law and facts to assess the merits of the claims to be resolved in this settlement and how

           23     best to serve the interests of the putative class in the Litigation. Based on this investigation and the
           24     negotiations described above, Class Counsel have concluded, taking into account the sharply
           25     contested issues involved, the risks, uncertainty and cost of further prosecution of this Litigation,
           26     and the benefits to be received by the Settlement Class pursuant to this Agreement, that a settlement
           27

           28
                                                                  2
                                              SETTLEMENT AGREEMENT AND RELEASE
                                                    Case No. 3:21-cv-03355-WHO
 
 
                         
                              
                                     
                                          
                                                  
                                                     
                                                        
                     Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 3 of 60




            1     with Defendant on the terms set forth in this Agreement is fair, reasonable, adequate and in the best

            2     interests of the putative class;

            3              WHEREAS, Plaintiff, individually and on behalf of the Settlement Class, desires to settle

            4     the Litigation and all matters within the scope of the Release set forth herein, having taken into

            5     account the risks, delay and potential difficulties involved in obtaining class certification,

            6     establishing liability, the likelihood of recovery in excess of that offered by this Agreement, the

            7     prospect of appeal in the event of a favorable trial court outcome, the desirability of payment sooner

            8     rather than later, and the likelihood that the Litigation could be protracted and expensive;

            9              WHEREAS, based upon their investigation and consideration of the risks of continuing to
           10     litigate this Litigation, the facts and law advocated by Defendant and the confidential feedback

           11     from the Mediator, Plaintiff and Class Counsel believe that it is desirable and in the best interests

           12     of the Settlement Class to enter into this Agreement;

           13              WHEREAS, Defendant has denied and continues to deny (a) each and every allegation and

           14     all charges of wrongdoing or liability of any kind whatsoever asserted or which could have been

           15     asserted in this Litigation, (b) that the Representative Plaintiff in the Litigation and the class she

           16     purports to represent have suffered any damage, and (c) that the Litigation satisfies the requirements
           17     to be tried as a class action under Federal Rule of Civil Procedure 23. Without acknowledging any

           18     fault or liability on the part of the Defendant, the Settling Parties have agreed to enter into this

           19     Agreement as an appropriate compromise of Representative Plaintiff and Settlement Class

           20     Members’ claims to put to rest all controversy and to avoid the uncertainty, risk, and/or expense of

           21     burdensome, protracted, and costly litigation that would be involved in prosecuting and defending

           22     this Litigation. This Agreement is for settlement purposes only, and nothing in this Agreement shall

           23     constitute, be construed as, or be admissible in evidence as any admission of the validity of any

           24     claim or any fact alleged by Representative Plaintiff in this Litigation or in any other pending or

           25     subsequently filed action, or of any wrongdoing, fault, violation of law, or liability of any kind on

           26     the part of Defendant or admission by any of the Parties of the validity or lack thereof of any claim,
           27     allegation, or defense asserted in this Litigation or in any other action;

           28
                                                                  3
                                              SETTLEMENT AGREEMENT AND RELEASE
                                                    Case No. 3:21-cv-03355-WHO
 
 
                         
                              
                                     
                                          
                                                  
                                                     
                                                        
                     Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 4 of 60




            1              WHEREAS, Defendant believes it is desirable and in its best interests to settle the Litigation

            2     and all matters within the scope of the Release in the manner and upon the terms and conditions

            3     provided for in this Agreement, and subject to the cap on payment set by the Settlement Fund, in

            4     order to avoid the further expense, imposition, and distraction of litigation, the prospect of appeal

            5     in the event of a favorable trial court outcome, and in order to put to rest the claims that have been

            6     asserted in the Litigation and are within the scope of the Release;

            7              WHEREAS, Defendant has agreed in this Agreement that it does and/or will take certain

            8     steps to enhance its information security programs, as described in ¶ 2.6;

            9              WHEREAS, this Agreement is intended to fully, finally and forever resolve all claims and
           10     causes of action asserted, or that could have been asserted based upon the facts alleged in the SAC,

           11     against Defendant and the Released Persons, by and on behalf of the Representative Plaintiff and

           12     Settlement Class Members, and any other such actions by and on behalf of any other consumers

           13     and putative classes of consumers originating, or that may originate, in jurisdictions in the United

           14     States, relating to the Security Incident.

           15              NOW, THEREFORE, IT IS HEREBY AGREED, by and between the Representative

           16     Plaintiff, Class Counsel, and Defendant, that, subject to the approval of the Court as provided for
           17     in this Agreement, the Litigation and Released Claims (including Unknown Claims) shall be fully

           18     and finally settled, compromised and released, and the Litigation shall be dismissed with prejudice,

           19     on the following terms and conditions:

           20                                                I. DEFINITIONS
           21              As used in this Agreement, the following terms have the meanings specified below:
           22                     “Active Borrower” means a Settlement Class Member who is currently receiving

           23     monthly statements for his/her account from Defendant.
           24                     “Agreement” or “Settlement Agreement” means this agreement.
           25                     “Approved Claims” means valid Settlement Claims in an amount approved by the
           26     Claims Administrator or found to be valid through the dispute resolution process, as set forth in ¶
           27     7.2 of this Agreement.
           28
                                                                  4
                                              SETTLEMENT AGREEMENT AND RELEASE
                                                    Case No. 3:21-cv-03355-WHO
 
 
                         
                              
                                     
                                          
                                                  
                                                     
                                                        
                     Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 5 of 60




            1                     “Attorneys’ Fees and Expenses Award” means the amount awarded by the Court to

            2     be paid to Class Counsel from the Settlement Fund, such amount to be in full and complete

            3     satisfaction of Class Counsel’s claim or request for payment of attorneys’ fees and expenses in

            4     connection with this Litigation.

            5                     “Award” means the amount remitted by the Claims Administrator out of the

            6     Settlement Fund to Settlement Class Members who submit Approved Claims, as provided in

            7     Sections II and VII of this Agreement.

            8                     “Claim Form” means the claim form attached hereto as Exhibit A, or a claim form

            9     approved by the Court that is substantially similar to Exhibit A.
           10                     “Claims Administration” means the dissemination of Class Notice, the processing of
           11     Settlement Claims received from Settlement Class Members, and the processing of payments of
           12     Approved Claims by the Claims Administrator.
           13                     “Claims Administrator” means Angeion Group, LLC, or such other company
           14     experienced in administering class action claims generally and specifically those of the type
           15     provided for in this Litigation, as may be jointly agreed upon by the Settling Parties and approved

           16     by the Court.
           17                     “Claims Deadline” means the deadline by which Settlement Class Members must
           18     submit any valid Settlement Claims. The Claims Deadline shall be set by the Court in the
           19     Preliminary Approval Order. The Settling Parties propose a Claims Deadline that is the 100th day
           20     after the date of entry of the Preliminary Approval Order.
           21                     “Claims Period” means the time for Settlement Class Members to submit Settlement
           22     Claims, running from the date of entry of the Preliminary Approval Order through the Claims

           23     Deadline.
           24                      “Class Counsel” means Mitchell Chyette of the Law Office of Mitchell Chyette,
           25     Thomas A. Zimmerman, Jr. of Zimmerman Law Offices, P.C., and Marc E. Dann of DannLaw.
           26                     “Class List” means a list of Settlement Class Members identified by Defendant,
           27     including such most recent email and mail addresses as are reasonably available to Defendant. The
           28
                                                                  5
                                              SETTLEMENT AGREEMENT AND RELEASE
                                                    Case No. 3:21-cv-03355-WHO
 
 
                         
                              
                                     
                                          
                                                  
                                                     
                                                        
                     Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 6 of 60




            1     Parties agree that the information in the Class List is confidential and private. In the event the

            2     Settlement is terminated as set forth in Article X, or Final Approval does not occur for any reason,

            3     Plaintiff, Class Counsel, and the Claims Administrator shall promptly return to Defendant’s

            4     counsel, delete or destroy all copies of the Class List, and shall not use the Class List or any

            5     information in the Class List to contact Settlement Class Members or for any other reason.

            6                      “Class Notice” means the notice of this Settlement that is contemplated by this

            7     Agreement, and which shall include the Long Notice, Summary Notice and Postcard Notice,

            8     substantially in the forms attached hereto as Exhibits B, E and F.

            9                     “Class Period” means the period from October 15, 2020 through the date of
           10     Preliminary Approval.
           11                     “Court” means the Honorable William H. Orrick of the United States District Court
           12     for the Northern District of California, or such other judge of the same court to whom the Litigation,
           13     or a proceeding in the Litigation, may be assigned.
           14                     “Defendant” means SN Servicing Corporation.
           15                     “Dispute Resolution Process” means the process for resolving disputed Settlement

           16     Claims as set forth in ¶ 7.2 of this Agreement.
           17                     “Effective Date” means the date on which the Final Approval Order in the Litigation
           18     becomes “Final.” “Final” means one business day after all of the following conditions have been
           19     satisfied: (a) the Final Approval Order has been entered; and (b)(i) if reconsideration and/or
           20     appellate review is not sought from the Final Approval Order, the expiration of the time for the
           21     filing or noticing of any motion for reconsideration, appeal, petition, and/or writ; or (b)(ii) if
           22     reconsideration and/or appellate review is sought from the Final Approval Order: (A) the date on

           23     which the Final Approval Order is affirmed and is no longer subject to judicial review, or (B) the
           24     date on which the motion for reconsideration, appeal, petition, or writ is dismissed or denied and
           25     the Final Approval Order is no longer subject to judicial review.
           26
           27

           28
                                                                  6
                                              SETTLEMENT AGREEMENT AND RELEASE
                                                    Case No. 3:21-cv-03355-WHO
 
 
                         
                              
                                     
                                          
                                                  
                                                     
                                                        
                     Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 7 of 60




            1                     “Final Approval Hearing” means the final hearing to be conducted by the Court in

            2     connection with the determination of the fairness, adequacy and reasonableness of this Agreement

            3     and the proposed settlement of the Litigation.

            4                     “Final Approval Order” or “Judgment” means the Court’s Final Approval Order and

            5     Judgment, substantially in the form attached hereto as Exhibit C, which, among other things,

            6     approves this Agreement and the Settlement as fair, adequate and reasonable and confirms the final

            7     certification of the Settlement Class.

            8                     “Inactive Borrower” means a Class Member who is not currently receiving monthly

            9     statements for his/her account from Defendant.
           10                     “Objection Deadline” means 75 days after the date of entry of the Preliminary
           11     Approval Order.
           12                     “Opt Out” means a Settlement Class Member (i) who timely submits a properly
           13     completed and executed Request for Exclusion, and (ii) who does not rescind that Request for
           14     Exclusion before the end of the Opt Out Period, and (iii) as to which there is not a successful
           15     challenge to the Request for Exclusion.

           16                     “Opt Out Date” means the date by which Settlement Class Members must mail their
           17     Request for Exclusion in order for that request to be excluded from the Settlement Class to be
           18     effective. The postmark date shall constitute evidence of the date of mailing for these purposes.
           19     The Opt Out Date shall be 75 days after the date of entry of the Preliminary Approval Order.
           20                     “Opt Out Period” means the period commencing on the date of entry of the
           21     Preliminary Approval Order and ending on the Opt Out Date, during which Settlement Class
           22     Members may submit a timely Request for Exclusion.

           23                     “Party” refers to any Plaintiff or Defendant, and “Parties” means Plaintiff and
           24     Defendant, collectively.
           25                      “Person” means an individual, corporation, partnership, limited partnership, limited
           26     liability company or partnership, association, joint stock company, estate, legal representative,
           27     trust, unincorporated association, government or any political subdivision or agency thereof, and
           28
                                                                  7
                                              SETTLEMENT AGREEMENT AND RELEASE
                                                    Case No. 3:21-cv-03355-WHO
 
 
                         
                              
                                     
                                          
                                                  
                                                     
                                                        
                     Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 8 of 60




            1     any business or legal entity, and their respective spouses, heirs, predecessors, successors,

            2     representatives, or assignees.

            3                     “Personal Information” means information that is or could be used, whether on its

            4     own or in combination with other information, to identify, locate, or contact a person, and further

            5     includes borrowers’ names, address, billing information, social security number, date of birth,

            6     driver’s license information, and bank account information. The term “Personal Information” is not

            7     intended here, nor should be viewed, as having any bearing on the meaning of this term or similar

            8     terms in any statute or other source of law beyond this Agreement.

            9                     “Preliminary Approval Order” means the Court’s order granting, among other things,
           10     conditional certification of the Settlement Class, preliminary approval of this Agreement and the
           11     Settlement, and approval of the form and method of Class Notice, substantially in the form attached
           12     hereto as Exhibit D.
           13                     “Released Claims” means all claims, including Unknown Claims, up to the date of
           14     preliminary approval, including but not limited to, any claim, liability, right, demand, suit, matter,
           15     obligation, damage, including consequential damages, losses or costs, liquidated damages,

           16     statutory damages, punitive damages, attorneys’ fees and costs, actions or causes of action of every
           17     kind and description, whether in law, in equity, for administrative relief, or otherwise, that the
           18     Settlement Class Members had, have, or may have against Defendant and/or the Released Persons
           19     that result from, arise out of, are based upon, or relate to the Security Incident, that were or could
           20     have been alleged in the Litigation, based upon the facts alleged in the SAC including, without
           21     limitation, any claims, actions, causes of action (including under state consumer protection and
           22     privacy statutes, including without limitation those of Colorado, California, and Oregon), demands,

           23     damages, penalties, losses, or remedies relating to, based upon, resulting from, or arising out of (1)
           24     the theft, exposure or disclosure of Settlement Class Members’ Personal Information; (2) the
           25     maintenance and storage of Settlement Class Members’ Personal Information; (3) the Defendant’s
           26     information security policies and practices; and (4) Defendant’s notice of the Security Incident to
           27     Settlement Class Members. “Released Claims” does not include the right of any Settlement Class
           28
                                                                  8
                                              SETTLEMENT AGREEMENT AND RELEASE
                                                    Case No. 3:21-cv-03355-WHO
 
 
                         
                              
                                     
                                          
                                                  
                                                     
                                                        
                     Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 9 of 60




            1     Member or any of the Released Persons to enforce the terms of the Settlement contained in this

            2     Agreement, does not release any claims that are not related to or that do not arise in connection

            3     with the Security Incident or the allegations, facts or circumstances described in the Litigation

            4     and/or SAC, and shall not include any claims of Settlement Class Members who have timely

            5     excluded themselves from the Settlement Class.

            6                     “Released Persons” means Defendant and its past or present owners, parents,

            7     subsidiaries, divisions, and related or affiliated entities of any nature whatsoever, whether direct or

            8     indirect, as well as each of Defendant’s and these entities’ respective predecessors, successors,

            9     directors, officers, shareholders, employees, servants, representatives, principals, agents, advisors,

           10     consultants, vendors, partners, contractors, attorneys, accountants, insurers, reinsurers, assigns

           11     subrogees, and includes, without limitation, any Person related to any such entity who is, was or

           12     could have been named as a defendant in the Litigation, other than any third-party Person who is

           13     found by a court of competent jurisdiction to be guilty under criminal law of initiating, causing,

           14     aiding or abetting the criminal activity occurrence of the Security Incident or who pleads nolo

           15     contendere to any such charge.

           16                     “Representative Plaintiff” means Desiree Schmitt.
           17                     “Request for Exclusion” means a fully completed and properly executed written
           18     request that is timely delivered to the Claims Administrator by a Settlement Class Member under
           19     Section V of this Agreement and is postmarked on or before the end of the Opt Out Period. For a
           20     Request for Exclusion to be properly completed and executed, it must: (a) list the caption of this
           21     Litigation, Desiree Schmitt v. SN Servicing Corp., Case No. 21-cv-3355; (b) state the Settlement
           22     Class Member’s full name, address and telephone number; (c) contain the Settlement Class

           23     Member’s personal and original signature or the original signature of a person authorized by law
           24     to act on the Settlement Class Member’s behalf with respect to a claim or right such as those
           25     asserted in the Litigation, such as a trustee, guardian or person acting under a power of attorney;
           26     and (d) state unequivocally the Settlement Class Member’s intent to be excluded from the
           27     Settlement. All Requests for Exclusion must be submitted individually in connection with a
           28
                                                                  9
                                              SETTLEMENT AGREEMENT AND RELEASE
                                                    Case No. 3:21-cv-03355-WHO
 
 
                         
                              
                                     
                                          
                                                  
                                                     
                                                        
                    Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 10 of 60




            1     Settlement Class Member, i.e., one request is required for every Settlement Class Member seeking

            2     exclusion. Settlement Class Members cannot exclude themselves from this Settlement by means of

            3     a “mass” or “class” exclusion.

            4                     “Security Incident” means the data security incident whereby third parties may have

            5     accessed Defendant’s customers’ Personal Information in connection with unauthorized access to

            6     Defendant’s electronic files on or about October 15, 2020.

            7                     “Service Award” means such funds as may be awarded by the Court to the

            8     Representative Plaintiff in recognition of her time, effort, and service to the Settlement Class,

            9     expended in pursuing the Litigation and in fulfilling her obligations and responsibilities as the

           10     Representative Plaintiff.

           11                     “Settlement” means the resolution of the matters within the scope of this Agreement
           12     and the Release set forth in this Agreement, and the completion of all conditions for Final Approval
           13     and all requirements set forth in the Final Approval Order.
           14                     “Settlement Claim” means a claim for settlement benefits made under the terms of
           15     this Agreement.

           16                     “Settlement Class” means all Persons whose Personal Information was accessed by
           17     unknown third parties during the Security Incident. Defendant has represented that the Settlement
           18     Class consists of approximately 285,983 Settlement Class Members.
           19                     “Settlement Class Member(s)” means a member(s) of the Settlement Class.
           20                     “Settlement Fund” means Nine Hundred Thousand Dollars ($900,000.00), which
           21     shall be the sole and exclusive source of all costs of the Settlement, including payment to Settlement
           22     Class Members, costs of Claims Administration, any Attorneys’ Fees Award, and any Service

           23     Award.
           24                     “Settling Parties” means, collectively, Defendant and Representative Plaintiff,
           25     individually and on behalf of the Settlement Class.
           26                      “Unknown Claims” means any of the Released Claims that Representative Plaintiff
           27     does not know or suspect to exist in her favor or in favor of any member of the class she represents
           28
                                                                 10
                                              SETTLEMENT AGREEMENT AND RELEASE
                                                    Case No. 3:21-cv-03355-WHO
 
 
                         
                              
                                     
                                          
                                                  
                                                     
                                                        
                    Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 11 of 60




            1     at the time of the release of the Released Persons that, if known, might have affected her settlement

            2     with, and release of, the Released Persons, or might have affected her decision to participate in this

            3     Agreement. With respect to any and all Released Claims, the Settling Parties stipulate and agree

            4     that upon the Effective Date, the Representative Plaintiff and Settlement Class Members expressly

            5     shall have, and by operation of the Final Approval Order shall have, released any and all Released

            6     Claims, including Unknown Claims, and waived the provisions, rights, and benefits conferred by

            7     California Civil Code § 1542, and also any and all provisions, rights, and benefits conferred by any

            8     law of any state, province, or territory of the United States which is similar, comparable, or

            9     equivalent to California Civil Code § 1542, which provides:
           10            A general release does not extend to claims that the creditor or releasing party
                         does not know or suspect to exist in his or her favor at the time of executing the
           11            release and that, if known by him or her, would have materially affected his or
                         her settlement with the debtor or released party.
           12
                  Representative Plaintiff and Settlement Class Members may hereafter discover facts in addition to,
           13
                  or different from, those that she now knows or believes to be true with respect to the subject matter
           14
                  of the Released Claims, but the Representative Plaintiff and Settlement Class Members expressly
           15
                  shall have, and by operation of the Final Approval Order shall have, upon the Effective Date, fully,
           16
                  finally and forever settled and released any and all Released Claims, including Unknown Claims.
           17
                                  As used herein, the plural of any defined term includes the singular thereof and vice
           18
                  versa, except where the context requires otherwise. All references to “days” shall be interpreted to
           19
                  mean calendar days unless otherwise expressly stated. When a deadline or date falls on a weekend
           20
                  or a legal holiday, the deadline or date shall be extended to the next day that is not a weekend day
           21
                  or legal holiday.
           22
                                  Other terms are defined in the text of this Agreement, and shall have the meaning
           23
                  given to those terms in the text. It is the intent of the Parties in connection with all documents
           24
                  related to the Settlement that defined terms as used in other documents shall have the meaning
           25
                  given to them in this Agreement.
           26
           27

           28
                                                                 11
                                              SETTLEMENT AGREEMENT AND RELEASE
                                                    Case No. 3:21-cv-03355-WHO
 
 
                         
                              
                                     
                                          
                                                  
                                                     
                                                        
                    Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 12 of 60




            1                                           II. SETTLEMENT RELIEF
            2              2.1.   In consideration for the settlement and Release provided herein, Defendant will fund

            3     a Settlement Fund in the amount of Nine Hundred Thousand Dollars ($900,000.00) and provide

            4     the injunctive relief described in ¶ 2.6. Within 7 days of Preliminary Approval, Defendant shall

            5     deposit $250,000 into a qualified settlement fund held by the Claims Administrator. Within 7 days

            6     of Final Approval, Defendant will deposit the remaining $650,000 into the qualified settlement

            7     fund held by the Claims Administrator. Defendant shall not have any other financial obligation

            8     under the Agreement. In addition, under no circumstances will Defendant have any liability for

            9     taxes or tax expenses under the Agreement. The Settlement Fund shall be the only source of

           10     payment for all costs of the settlement, including: (a) payments to Settlement Class Members

           11     submitting valid Settlement Claims; (b) costs of Claims Administration; (c) the Attorneys’ Fees

           12     and Expenses Award, if any, to Class Counsel; and (d) the Service Award, if any.

           13              2.2.   Payments to Settlement Class Members. Settlement Class Members may make a
           14     Settlement Claim for an Award (of which there will be two Tiers) to be paid from the Settlement

           15     Fund. These Award Tiers are exclusive and not cumulative, and Settlement Class Members may

           16     not receive more than one Award total. If a Settlement Class Member submits a Claim Form
           17     seeking more than one Award, the Claims Administrator shall pay a single Award for the Tier
           18     supported by Defendant’s business records and a valid Claim Form. Only one Settlement Claim
           19     may be submitted per Settlement Class Member. If more than one valid claim is submitted, the
           20     largest valid claim filed will be processed and the remaining claims will be denied as duplicative.
           21                     2.2.1. Award. Every Settlement Class Member who submits an Approved Claim
           22     for an Award is eligible to receive an Award of up to $75.00 (within one of two Tiers, as described

           23     in this Paragraph), regardless of whether he or she experienced any identity theft as a result of the
           24     Security Incident. Tier 1 awards will initially be set at $75.00 for Settlement Class Members, as
           25     identified by Defendant’s records, who potentially had their Social Security Number exposed in
           26     the Security Incident; and Tier 2 awards will initially be set at $25.00 for Settlement Class
           27     Members, as identified by Defendant’s records, who potentially had their Personal Information,
           28
                                                                 12
                                              SETTLEMENT AGREEMENT AND RELEASE
                                                    Case No. 3:21-cv-03355-WHO
 
 
                         
                              
                                     
                                          
                                                  
                                                     
                                                        
                    Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 13 of 60




            1     but not Social Security Number, exposed in the Security Incident. The actual amount to be paid for

            2     Awards will be calculated further as described in ¶ 7.3 below, including with respect to proration

            3     based on claims made.

            4              2.3.    Continued Credit Monitoring and Identity Protection. On or about July 7, 2021
            5     Defendant secured complimentary credit monitoring and identity theft protection services from

            6     myTrueIdentity for all individuals affected by the Security Incident and encouraged individuals to

            7     take advantage of the complimentary services. As additional relief provided in this Settlement, and

            8     conditioned upon Final Approval, the Parties have agreed that Defendant shall purchase one

            9     additional year of myTrueIdentity credit monitoring and identity theft protection services for all
           10     Settlement Class Members who affirmatively opt into myTrueIdentity protection on their Claim

           11     Form.

           12              2.4.    Claims Process. Settlement Class Members seeking an Award under this Agreement
           13     must complete and submit a written Claim Form to the Claims Administrator, postmarked or

           14     submitted electronically in accordance with the requirements for electronic submission of a Claim

           15     Form, on or before the Claims Deadline, which the Settling Parties propose shall be the 100th day

           16     after the date of entry of the Preliminary Approval Order. The Claim Form must be signed by the
           17     Settlement Class Member with a statement that his or her claim is true and correct to the best of his

           18     or her belief.

           19                      2.4.1. Confidentiality. Information submitted by Settlement Class Members
           20     pursuant to this Agreement and in connection with a Settlement Claim shall be deemed confidential

           21     and protected as such by the Settling Parties and the Claims Administrator. This provision does not

           22     prohibit Class Counsel from reporting to the Court or filing in the public record the names of those

           23     Settlement Class Members who have submitted timely and valid requests for exclusion.

           24              2.5.    Eligibility to Submit Claim. This Settlement does not prohibit a Settlement Class
           25     Member who accepted Defendant’s offer, in response to the Security Incident, for a free year of

           26     identity protection services from also submitting a Settlement Claim under this Agreement.
           27

           28
                                                                 13
                                              SETTLEMENT AGREEMENT AND RELEASE
                                                    Case No. 3:21-cv-03355-WHO
 
 
                         
                              
                                     
                                          
                                                  
                                                     
                                                        
                    Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 14 of 60




            1              2.6.   Non-Monetary Relief. As additional relief provided in this Settlement, Defendant
            2     agrees to take reasonable steps to enhance its information security program. As part of those efforts,

            3     Defendant agrees that it has taken or will take the following steps:

            4            1)       Maintain cadence of its penetration tests (including internal and external testing) at

            5                     least once per quarter.

            6            2)       Maintain multi-factor authentication for its employees, vendors and borrowers.

            7            3)       Provide training to SN Servicing Corporation security personnel regarding any new

            8                     or modified security procedure.

            9           III.      PRELIMINARY SETTLEMENT APPROVAL AND FINAL APPROVAL
           10              3.1.   Preliminary Approval. As soon as practicable after the execution of the Agreement,
           11     Class Counsel shall submit this Agreement to the Court and file a motion for preliminary approval
           12     of the Settlement with the Court requesting entry of a Preliminary Approval Order in the form
           13     attached hereto as Exhibit D, or an order substantially similar to such form, which shall seek
           14     “Preliminary Approval” including:
           15            (a)      Stay all proceedings in the Litigation other than those related to approval of the

           16                     Settlement;
           17            (b)      Preliminarily certify the Settlement Class for settlement purposes only and
           18                     preliminarily approve this Agreement for purposes of issuing Class Notice;
           19            (c)      Appoint Representative Plaintiff as the Settlement Class representative, for
           20                     settlement purposes only;
           21            (d)      Appoint Class Counsel as counsel of the Settlement Class, for settlement purposes
           22                     only;

           23            (e)      Approve the notice program, as set forth in Section IV herein (the “Notice Program”);
           24            (f)      Approve the form and contents of a long form notice (“Long Notice”) to be posted
           25                     on the settlement website substantially similar to the one attached hereto as Exhibit
           26                     B, a Summary Notice to be sent to Settlement Class Members (“Summary Notice”)
           27                     substantially similar to the one attached hereto as Exhibit E, and a postcard notice
           28
                                                                 14
                                              SETTLEMENT AGREEMENT AND RELEASE
                                                    Case No. 3:21-cv-03355-WHO
 
 
                         
                              
                                     
                                          
                                                  
                                                     
                                                        
                    Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 15 of 60




            1                     (“Postcard Notice”) substantially similar to the one attached hereto as Exhibit F to be

            2                     sent to Settlement Class Members, which together shall include a fair summary of

            3                     the Settling Parties’ respective litigation positions, the general terms of the Settlement

            4                     set forth in this Agreement, instructions for how to object to or submit a Request for

            5                     Exclusion from the Settlement, the process and instructions for making Settlement

            6                     Claims to the extent contemplated herein, and the date, time and place of the Final

            7                     Approval Hearing;

            8            (g)      Approve a Claim Form substantially similar to that attached hereto as Exhibit A;

            9            (h)      Appoint the Claims Administrator;
           10            (i)      Schedule an appropriate Opt Out Date, Objection Deadline, and other settlement-

           11                     related dates and deadlines to be included in the Class Notice; and

           12            (j)      Schedule the Final Approval Hearing.

           13                     3.1.1   Defendant will not oppose entry of the Preliminary Approval Order so long

           14     as it is substantially in the form attached to this Agreement as Exhibit D, and is otherwise consistent

           15     with this Agreement.

           16              3.2.   Final Approval. Class Counsel and Defendant’s counsel shall request that the Court
           17     hold a Final Approval Hearing after Class Notice is completed, and grant Final Approval of the

           18     Settlement set forth herein.

           19                     3.2.1 The proposed Final Approval Order that shall be filed with the motion for

           20     final approval and shall be in the form set forth in Exhibit C as agreed upon by Defendant and Class

           21     Counsel and shall seek “Final Approval” including:

           22            (a)      Determine that the Agreement is fair, adequate, and reasonable;

           23            (b)      Finally certify the Settlement Class for settlement purposes only;

           24            (c)      Determine that the Notice Program satisfies due process requirements;

           25            (d)      Dismiss all claims in the SAC with prejudice;

           26
           27

           28
                                                                 15
                                              SETTLEMENT AGREEMENT AND RELEASE
                                                    Case No. 3:21-cv-03355-WHO
 
 
                         
                              
                                     
                                          
                                                  
                                                     
                                                        
                    Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 16 of 60




            1            (e)      Bar and enjoin any Settlement Class Members who did not timely opt out in

            2                     accordance with the requirements of the Agreement from asserting any of the

            3                     Released Claims; and

            4            (f)      Release and forever discharge Defendant and the Released Persons from the Released

            5                     Claims, as provided for in this Agreement.

            6                                           IV.   NOTICE PROGRAM
            7              4.1.   The Claims Administrator shall cause Class Notice to be disseminated to the

            8     Settlement Class pursuant to the Preliminary Approval Order and the Notice Program as described

            9     below, and in compliance with all applicable laws, including, but not limited to, the Due Process

           10     clause of the United States Constitution and Federal Rule of Civil Procedure 23, and be effectuated

           11     pursuant to the provisions set forth below, the costs of which shall be costs of Claims

           12     Administration.

           13              4.2.   Settlement Class List. No later than 14 days after the date of entry of the Preliminary
           14     Approval Order, Defendant will provide the Claims Administrator with a Class List in Excel format

           15     that includes, to the extent available, the name, email address, and mailing address of each

           16     Settlement Class Member as reflected in Defendant’s business records. The Class List will also
           17     identify whether a Settlement Class Member is an Active Borrower or an Inactive Borrower. In
           18     addition, the Class List will identify which Tier (1 or 2) each Settlement Class Member belongs to,
           19     as described in ¶ 2.2.1 herein.
           20              4.3.   Class Notice shall be provided to the Settlement Class as follows:
           21                     4.3.1. Direct Notice via U.S. Mail to Active Borrowers. Within 30 days after the
           22     date of entry of the Preliminary Approval Order, Defendant will send a Summary Notice and Claim

           23     Form to all Settlement Class Members who are Active Borrowers via (1) First Class U.S. Mail, in
           24     an envelope, along with the Active Borrowers’ monthly statement for the applicable time frame, or
           25     (2) email to Active Borrowers that are enrolled in electronic billing.
           26                     4.3.2. Direct Notice via U.S. Mail to Inactive Borrowers. Within 30 days after the
           27     date of entry of the Preliminary Approval Order, the Claims Administrator shall send Postcard
           28
                                                                 16
                                              SETTLEMENT AGREEMENT AND RELEASE
                                                    Case No. 3:21-cv-03355-WHO
 
 
                         
                              
                                     
                                          
                                                  
                                                     
                                                        
                    Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 17 of 60




            1     Notice via First Class U.S. Mail, postage pre-paid, to Settlement Class Members who are Inactive

            2     Borrowers. Within 20 days after sending such Postcard Notice, the Claims Administrator shall

            3     undertake reasonable efforts to confirm the address, and to resend notice, for any Settlement Class

            4     Members for which the Claims Administrator receives returned mail from the U.S. Postal Service

            5     indicating that the initial mailing of Summary Notice or Postcard Notice was not delivered.

            6                     4.3.3. Settlement Website. Within 30 days after the date of entry of the Preliminary
            7     Approval Order, the Claims Administrator shall establish a dedicated settlement website that

            8     includes this Agreement, the Preliminary Approval Order entered by the Court, the Long Notice,

            9     and the Claim Form approved by the Court. The settlement website shall also have a downloadable
           10     Claim Form, and a Claim Form that can be completed electronically on the website. The Claims

           11     Administrator shall maintain and update the website throughout the Claims Period. The Claims

           12     Administrator will also post on the settlement website copies of the motion for final approval of

           13     the Settlement, and the motion for an Attorneys’ Fees and Expenses Award and a Service Award.

           14     A toll-free number with interactive voice response, FAQs and an option to speak to a live operator

           15     shall also be made available by the Claims Administrator to address inquiries.

           16                     4.3.4   CAFA Notice. Pursuant to 28 U.S.C. § 1715, not later than 10 days after the
           17     Agreement is filed with the Court, Defendant shall cause to be served upon the Attorneys General

           18     of each U.S. State in which Settlement Class Members reside, the Attorney General of the United

           19     States, and other required government officials, notice of the proposed settlement as required by

           20     law.

           21              4.4.   The Notice Program shall be subject to approval by the Court as meeting the

           22     requirements of Rule 23(c) of the Federal Rules of Civil Procedure.

           23              4.5.   The Long Notice, Summary Notice, Postcard Notice, and Claim Form approved by

           24     the Court may be adjusted by the Claims Administrator, respectively, in consultation and agreement

           25     with the Settling Parties, as may be reasonable and necessary and not inconsistent with such

           26     approval.
           27              4.6.   Prior to the Final Approval Hearing, counsel for the Settling Parties shall cause to be

           28
                                                                 17
                                              SETTLEMENT AGREEMENT AND RELEASE
                                                    Case No. 3:21-cv-03355-WHO
 
 
                         
                              
                                     
                                          
                                                  
                                                     
                                                        
                    Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 18 of 60




            1     filed with the Court an appropriate declaration from the Claims Administrator demonstrating

            2     compliance with the Court-approved Notice Program. Within 14 days after the Claims Deadline,

            3     the Claims Administrator will provide the Parties’ counsel with a declaration attesting to the Class

            4     Notice provided, and the number of claims received.

            5                                            V. OPT OUT PROCEDURES
            6              5.1.   Each Settlement Class Member wishing to exclude themselves from the Settlement

            7     Class must individually sign and timely mail a written Request for Exclusion to the address

            8     designated by the Claims Administrator.

            9              5.2.   To be effective, a Request for Exclusion must be postmarked no later than 75 days

           10     after the date of entry of the Preliminary Approval Order.

           11              5.3.   Within 14 days after the Opt Out Date, the Claims Administrator shall provide the

           12     Settling Parties with a complete and final list of all Opt Outs who have timely and validly excluded

           13     themselves from the Settlement Class and, upon request, copies of all completed Requests for

           14     Exclusion. Class Counsel shall present to the Court the number of opt-outs (if any) as part of the

           15     motion for final approval of the Settlement, which shall include the name of each Opt Out.

           16              5.4.   All persons who Opt Out from the Settlement Class shall not receive any benefits of
           17     or be bound by the terms of this Agreement. All persons falling within the definition of the
           18     Settlement Class who do not Opt Out shall be bound by the terms of this Agreement and the Final
           19     Approval Order entered thereon.
           20              5.5.   If more than 1,200 Settlement Class Members timely and validly Opt Out, then
           21     Defendant may, in its sole discretion, at any time on or before 21 days after the Opt Out Date, notify
           22     Class Counsel in writing that it has elected to terminate this Agreement. If this Agreement is

           23     terminated, it will be deemed null and void ab initio and the provisions in ¶ 10.4 shall apply.
           24                                      VI.       OBJECTION PROCEDURES
           25              6.1.   Each Settlement Class Member who does not file a timely Request for Exclusion may
           26     file a notice of intent to object to the Settlement. The Class Notice shall instruct Settlement Class
           27     Members who wish to object to the Agreement to send their written objections to the following:
           28
                                                                 18
                                              SETTLEMENT AGREEMENT AND RELEASE
                                                    Case No. 3:21-cv-03355-WHO
 
 
                         
                              
                                     
                                          
                                                  
                                                     
                                                        
                    Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 19 of 60




            1                                                Clerk of Court
                                                             U.S. District for N.D. of California
            2                                                450 Golden Gate Avenue
                                                             San Francisco, CA 94102
            3

            4     The Class Notice shall advise Settlement Class Members of the deadline for submission of any

            5     objections.

            6              6.2.   All such notices of an intent to object to the Agreement must be written, list the name

            7     of this Lawsuit, Schmitt v. SN Servicing Corporation, Case No. 3:21-cv-03355-WHO, and include

            8     all of the following: (i) the objector’s full name, address, telephone number, and e-mail address (if

            9     any); (ii) information identifying the objector as a Settlement Class Member, including proof that

           10     the objector is a member of the Settlement Class; (iii) a statement as to whether the objection applies

           11     only to the Settlement Class Member, to a specific subset of the Settlement Class, or to the entire

           12     Settlement Class; (iv) a clear and detailed written statement of the specific legal and factual bases

           13     for each and every objection, accompanied by any legal support for the objection the objector

           14     believes applicable; (v) the identity of any counsel representing the objector; (vi) a statement

           15     whether the objector intends to appear at the Final Approval Hearing, either in person or through

           16     counsel, and, if through counsel, identifying that counsel; (vii) a list of all persons who will be

           17     called to testify at the Final Approval Hearing in support of the objection; and (viii) the objector’s

           18     signature and the signature of the objector’s duly authorized attorney or other duly authorized

           19     representative.

           20              6.3.   To be timely, written notice of an objection in the appropriate form must be filed or

           21     postmarked no later than the Objection Deadline.

           22              6.4.   Except upon a showing of good cause, any Settlement Class Member who fails to

           23     comply with the requirements in Section VI for objecting shall waive and forfeit any and all rights

           24     he or she may have to appear separately and/or to object to the Agreement, and shall be bound by

           25     all the terms of the Agreement and by all proceedings, orders and judgments in the Litigation. The

           26     exclusive means for any challenge to the Agreement shall be through the provisions of Section VI.

           27                                      VII. CLAIMS ADMINISTRATION

           28              7.1.   The Claims Administrator shall administer and calculate the Settlement Claims

                                                                 19
                                              SETTLEMENT AGREEMENT AND RELEASE
                                                    Case No. 3:21-cv-03355-WHO
 
   
                               
                                      
                                           
                                                   
                                                      
                                                         
                     Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 20 of 60




            1     submitted by Settlement Class Members. Class Counsel and Defendant’s counsel shall periodically

            2     be given reports as to both Settlement Claims and distribution, and have the right to review and

            3     obtain supporting documentation and challenge such reports if they believe them to be inaccurate

            4     or inadequate. The determination by the Claims Administrator of the validity or invalidity of all

            5     Settlement Claims shall be binding, subject to the dispute resolution process set forth in ¶ 7.2.

            6              7.2.    For each Settlement Claim submitted, the Claims Administrator, in its sole discretion

            7     to be reasonably exercised, will determine whether: (1) the claimant is a Settlement Class Member;

            8     and (2) the claimant has provided all information required to complete the Claim Form by the

            9     Claims Deadline. The Claims Administrator may, at any time, request from the claimant, in writing,
           10     additional information as the Claims Administrator may reasonably require in order to evaluate the

           11     Settlement Claim.

           12                      7.2.1. Upon receipt of an incomplete or unsigned Claim Form, the Claims

           13     Administrator shall request additional information and give the claimant 14 days to cure the defect

           14     before rejecting the Settlement Claim. Such requests shall be made within 21 days after the Claims

           15     Deadline. In the event of unusual circumstances interfering with compliance during the 14-day

           16     period, the claimant may request and, for good cause shown shall be given, a reasonable extension
           17     of the 14-day deadline in which to comply; however, in no event shall the deadline be extended

           18     past the Effective Date. If the defect is not cured, then the Settlement Claim will be deemed invalid

           19     and there shall be no obligation to pay the Settlement Claim.

           20                      7.2.2. Following receipt of additional information requested by the Claims

           21     Administrator pursuant to ¶ 7.2.1, the Claims Administrator shall have 14 days to accept, in whole

           22     or lesser amount, or reject each Settlement Claim. If after review of the Settlement Claim and

           23     additional information submitted by the claimant, the Claims Administrator determines that such a

           24     Settlement Claim is valid, then the Settlement Claim shall be paid within the time period provided

           25     by ¶ 7.5. If the Settlement Claim remains invalid because the claimant does not provide the

           26     requested information needed to complete the Claim Form and evaluate the Settlement Claim, then
           27

           28
                                                                  20
                                               SETTLEMENT AGREEMENT AND RELEASE
                                                     Case No. 3:21-cv-03355-WHO
 
 
                         
                              
                                     
                                          
                                                  
                                                     
                                                        
                    Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 21 of 60




            1     the Claims Administrator may reject the Settlement Claim without any further action apart from

            2     providing a notice of rejection of the Settlement Claim.

            3              7.3.   The Claims Administrator shall adjust the payment amount of all Awards as follows:

            4                     7.3.1. If the total dollar value of all Approved Claims at the payment amounts set

            5     forth in ¶ 2.2.1 is less than the amount remaining in the Settlement Fund after the Claims Deadline

            6     has passed and after the Attorneys’ Fees and Expenses Award, the Service Award, and Claims

            7     Administration costs have been paid in full out of the Settlement Fund, the payment amount for all

            8     Approved Claims shall be increased pro rata among all Settlement Class Members who submitted

            9     Approved Claims.
           10                     7.3.2. If the total dollar value of all Approved Claims at the payment amounts set

           11     forth in ¶ 2.2.1 exceeds the amount remaining in the Settlement Fund after the Claims Deadline has

           12     passed and after the Attorneys’ Fees and Expenses Award, the Service Award, and Claims

           13     Administration costs have been paid in full out of the Settlement Fund, the payment amount for all

           14     Approved Claims shall be reduced pro rata among all Settlement Class Members who submitted

           15     Approved Claims.

           16              7.4.   The Claims Administrator shall agree to hold the Settlement Fund in a non-interest-
           17     bearing account, and administer the Settlement Fund, subject to the continuing jurisdiction of the

           18     Court and from the earliest possible date, as a qualified settlement fund as defined in Treasury

           19     Regulation § 1.468B-1, et seq. Any taxes owed by the Settlement Fund shall be paid by the Claims

           20     Administrator out of the Settlement Fund.

           21              7.5.   The Claims Administrator will mail Award checks or send funds electronically (in

           22     an electronic payment format recommended by the Claims Administrator, such as PayPal, and

           23     agreed-upon by the Parties) for Approved Claims within the later of 90 days after the Effective

           24     Date or 30 days after all disputed claims have been resolved. No distributions will be made without

           25     authorization from the Parties’ counsel. The Claims Administrator will conduct skip tracing and

           26     re-send checks that were returned as undeliverable. Award checks shall be valid for a period of 180
           27     days from issuance, and shall state, in words or substance, that the check must be cashed within

           28
                                                                 21
                                              SETTLEMENT AGREEMENT AND RELEASE
                                                    Case No. 3:21-cv-03355-WHO
 
 
                         
                              
                                     
                                          
                                                  
                                                     
                                                        
                    Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 22 of 60




            1     180 days, after which time it will become void. In the event a settlement check becomes void, the

            2     Settlement Class Member to whom that settlement check was made payable will forfeit the right to

            3     payment and will not be entitled to have the check reissued or to any further distribution from the

            4     Settlement Fund or to any further recourse against the Parties, the Parties’ counsel, or Released

            5     Parties, and the Agreement and Release will in all other respects be fully enforceable against the

            6     Settlement Class Member. No later than 190 days from the issuance of the Award checks, the

            7     Claims Administrator shall take all steps necessary to stop payment on any Award checks that

            8     remain uncashed.

            9              7.6.   If there is any balance remaining in the Settlement Fund account 90 days after the
           10     Claims Administrator completes the process for stopping payment on any Award checks that

           11     remain uncashed, the Settling Parties will return to the Court seeking direction as to the disposition

           12     of these funds, including the selection of a cy pres recipient, which shall be a 501(c)(3) selected by

           13     the Settling Parties (subject to Court approval). The funds distributed pursuant to the cy pres

           14     provision set forth in this Paragraph shall not be considered unclaimed property under the laws of

           15     California or any other state.

           16              7.7.   No Person shall have any claim against the Claims Administrator, Defendant,
           17     Defendant’s counsel, Class Counsel, and/or the Representative Plaintiff based on distributions of

           18     benefits to Settlement Class Members or to the cy pres recipient named herein, if applicable.

           19              7.8.   All Settlement Class Members who fail to timely submit a valid Settlement Claim for

           20     any benefits hereunder within the time frames set forth herein, or such other period as may be

           21     ordered by the Court, or otherwise allowed, shall be forever barred from receiving any payments

           22     or benefits pursuant to the Settlement set forth herein, but will in all other respects be subject to,

           23     and bound by, the provisions of the Agreement, the Releases contained herein and the Final

           24     Approval Order.

           25                                                VIII. RELEASES
           26              8.1.   Upon the Effective Date, and in consideration of the settlement benefits described
           27     herein, each Settlement Class Member, including Representative Plaintiff, whether or not he or she
           28
                                                                 22
                                              SETTLEMENT AGREEMENT AND RELEASE
                                                    Case No. 3:21-cv-03355-WHO
 
   
                               
                                      
                                           
                                                   
                                                      
                                                         
                     Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 23 of 60




            1     received an Award, will be deemed by this Agreement and by operation of the Final Approval

            2     Order to have completely and unconditionally released, forever discharged and acquitted the

            3     Released Persons from any and all of the Released Claims, and Representative Plaintiff will be

            4     deemed to have also released Unknown Claims (the “Release”).

            5              8.2.    The Agreement shall be the sole and exclusive remedy for any and all Released

            6     Claims of Settlement Class Members. Upon entry of the Final Approval Order, each member of

            7     the Settlement Class shall be barred from initiating, asserting, or prosecuting against any Released

            8     Person any claims, including Unknown Claims, that are released by operation of the Agreement

            9     and the Final Approval Order.
           10              IX.     CLASS COUNSEL’S ATTORNEYS’ FEES AND REPRESENTATIVE
           11                                          PLAINTIFF’S SERVICE AWARD
           12              9.1.    Class Counsel shall apply to the Court for an award of reasonable attorneys’ fees,
           13     payable solely from the Settlement Fund, in an amount not to exceed thirty percent (30%) of the
           14     Settlement Fund, plus reimbursed expenses. Class Counsel will apply to the Court for such approval
           15     and will serve Defendant’s counsel with such application no later than 35 days prior to the

           16     Objection Deadline. Defendant shall take no position with regard to Class Counsel’s application
           17     for the Attorneys’ Fees and Expenses Award if the application complies with the provisions of this
           18     Section.
           19              9.2.    Class Counsel will request from the Court a Service Award for the Representative
           20     Plaintiff in an amount up to and including $5,000.00, to be paid solely from the Settlement Fund.
           21     Defendant shall take no position with regard to the Representative Plaintiff’s request for a Service
           22     Award payment to the extent it does not exceed this amount.

           23              9.3.    The Claims Administrator shall pay the Attorneys’ Fees and Expenses Award and
           24     Service Award from the Settlement Fund to the Dann Law Firm Co. IOLTA account within 10
           25     days after the Court executes an order (or orders) awarding such Attorneys’ Fees and Expenses
           26     Award and Service Award. The Attorneys’ Fees and Expenses Award will be allocated among
           27     Class Counsel as they see fit. In the event that the Effective Date does not occur, or the Final
           28
                                                                  23
                                               SETTLEMENT AGREEMENT AND RELEASE
                                                     Case No. 3:21-cv-03355-WHO
 
 
                         
                              
                                     
                                          
                                                  
                                                     
                                                        
                    Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 24 of 60




            1     Approval Order or the order making the Attorneys’ Fees and Expenses Award is reversed or

            2     modified, or the Agreement is cancelled or terminated or modified for any other reason, and in the

            3     event that the Attorneys’ Fees and Expenses Award has been paid to any extent, then Class Counsel

            4     shall, within 14 days after receiving notice from Defendant or from a court of appropriate

            5     jurisdiction, refund to the Settlement Fund, as appropriate, the amounts previously paid to Class

            6     Counsel, in an amount consistent with such reversal, modification, cancellation, or termination.

            7     Class Counsel, as a condition of receiving such fees and expenses, hereby agree that their respective

            8     law firms are each unconditionally obligated to make such refund of fees and expenses received by

            9     their respective law firms, and are subject to the jurisdiction of the Court for the purpose of
           10     enforcing the provisions of this Section.

           11              9.4.   The finality or effectiveness of the Agreement shall not depend upon the Court

           12     awarding any particular Attorneys’ Fees and Expenses Award or Service Awards. No order of the

           13     Court, or modification or reversal or appeal of any order of the Court concerning the amount(s) of

           14     any attorneys’ fees, expenses, and/or Service Award ordered by the Court to Class Counsel or

           15     Representative Plaintiff shall affect whether the Judgment is final or constitute grounds for

           16     cancellation or termination of this Agreement.
           17           X. CONDITIONS OF SETTLEMENT, CANCELLATION, OR TERMINATION
           18              10.1. This Agreement is subject to and conditioned upon the occurrence of all of the
           19     following events:
           20                     (a) The Court has entered a Preliminary Approval Order as provided by ¶ 3.1;
           21                     (b) The Court has entered a Final Approval Order as provided by ¶ 3.2; and
           22                     (c) The Effective Date has occurred, as defined in ¶ 1.18.

           23              10.2. If all of the conditions in ¶ 10.1 are not fully satisfied and the Effective Date does not
           24     occur, the Agreement shall, without notice, be automatically terminated unless Class Counsel and
           25     Defendant’s counsel mutually agree in writing to proceed with the Agreement.
           26              10.3. This Agreement shall survive any Court order issued prior to a ruling on Plaintiff’s
           27     motion for final approval of the Settlement, including any order which has the effect of: (1)
           28
                                                                 24
                                              SETTLEMENT AGREEMENT AND RELEASE
                                                    Case No. 3:21-cv-03355-WHO
 
   
                               
                                      
                                           
                                                   
                                                      
                                                         
                     Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 25 of 60




            1     dismissing this Litigation; (2) denying class certification; or (3) compelling arbitration of Plaintiff’s

            2     claims, and in any such case the Parties shall endeavor in good faith to pursue consummation of

            3     the Agreement on the terms herein to the extent practicable. Nothing herein is intended to waive

            4     any conditions to the effectiveness of the Settlement, including as described in ¶ 10.1 of this

            5     Agreement.

            6              10.4. In the event of termination, this Agreement shall have no further force or effect

            7     regarding the Settling Parties’ rights. The Parties shall be restored to their respective positions in

            8     the Litigation as of the date of the signing of this Agreement, and the Parties shall be deemed to

            9     have preserved all of their rights or defenses, and shall not be deemed to have waived any
           10     substantive, evidentiary, procedural, or other rights of any kind that they have as to each other or

           11     any member of the Settlement Class. Within 10 days after written notification of termination of

           12     this Agreement is sent to the other Parties, the Settlement Fund (including accrued interest thereon),

           13     less any Claims Administration costs actually incurred, paid or payable and less any taxes and tax

           14     expenses paid, due or owing, shall be refunded by the Claims Administrator to Defendant based

           15     upon written instructions provided by Defendant’s counsel. The Settling Parties shall jointly

           16     request the Court to hold a scheduling conference for the purpose of establishing a new case
           17     schedule.

           18              10.5. Defendant conditionally agrees and consents to certification of the Settlement Class

           19     for settlement purposes only, and within the context of the Agreement only. If the Agreement, for

           20     any reason, is not finally approved or is otherwise terminated, Defendant reserves the right to assert

           21     any and all objections and defenses to certification of a class, and neither the Agreement nor any

           22     order or other action relating to the Agreement shall be offered by any Person as evidence in support

           23     of a motion to certify a class for a purpose other than this Settlement.

           24                                     XI.    MISCELLANEOUS PROVISIONS
           25              11.1. The Settling Parties and their counsel agree to undertake commercially reasonable
           26     efforts and mutually cooperate to effectuate this Agreement and the terms of the proposed
           27     Settlement set forth herein, including taking all steps and efforts contemplated by this Agreement,
           28
                                                                  25
                                               SETTLEMENT AGREEMENT AND RELEASE
                                                     Case No. 3:21-cv-03355-WHO
 
 
                         
                              
                                     
                                          
                                                  
                                                     
                                                        
                    Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 26 of 60




            1     and any other steps and efforts which may become necessary by order of the Court or otherwise.

            2     The Settling Parties further agree to defend this Agreement against objections made to the

            3     Settlement or the Final Approval Order at the Final Approval Hearing or in any appeal of the Final

            4     Approval Order or in any collateral attack on this Agreement or Final Approval Order.

            5              11.2. The Settling Parties intend this Agreement to be a final and complete resolution of

            6     all disputes between them with respect to the Litigation. The Agreement compromises claims that

            7     are contested and shall not be deemed an admission by any of the Parties as to the merits of any

            8     claim or defense. The Settling Parties each agree that the Settlement and this Agreement were

            9     negotiated in good faith and at arm’s-length by the Settling Parties, and reflects a Settlement that
           10     was reached voluntarily after consultation with competent legal counsel.

           11              11.3. The Agreement may be amended or modified only by a written instrument signed by

           12     or on behalf of all Settling Parties or their respective successors-in-interest. Amendments and

           13     modifications may be made without additional notice to the Settlement Class Members unless such

           14     notice is required by the Court.

           15              11.4. Except as otherwise provided, this Agreement contains the entire agreement between

           16     the Settling Parties, and supersedes any prior agreements or understandings between them. All
           17     terms of this Agreement are contractual and not mere recitals, and shall be construed as if drafted

           18     by all Settling Parties to this Agreement. The terms of this Agreement are and shall be binding

           19     upon each of the Settling Parties to this Agreement, their agents, attorneys, employees, successors

           20     and assigns, and upon all other Persons or entities claiming any interest in the subject matter hereof,

           21     including any Settlement Class Member.

           22              11.5. Defendant shall not be liable for any additional attorneys’ fees and expenses of any

           23     Settlement Class Members’ counsel, including any potential objectors or counsel representing a

           24     Settlement Class Member individually, other than what is expressly provided for in this Agreement.

           25     Class Counsel agree to hold Defendant harmless from any claim regarding the division of any

           26     award of attorneys’ fees and expenses to Class Counsel, and any claim that the term “Class
           27     Counsel” (as defined in ¶ 1.11 of this Agreement) fails to include any counsel, Person, or firm who

           28
                                                                 26
                                              SETTLEMENT AGREEMENT AND RELEASE
                                                    Case No. 3:21-cv-03355-WHO
 
 
                         
                              
                                     
                                          
                                                  
                                                     
                                                        
                    Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 27 of 60




            1     claims that they are entitled to a share of any attorneys’ fees awarded to Class Counsel in this

            2     Litigation.

            3              11.6. Except as required by law or any other disclosure obligations, the Parties, and the

            4     Parties’ counsel, shall not issue any press releases or make any postings on social media about this

            5     case or the Settlement; however, Defendant may respond to relevant posts on Defendant’s website

            6     or social media sites, and a Party or the Party’s counsel may also respond to any incoming press

            7     inquiry about this case or the Settlement with a responsive statement approved in advance by the

            8     opposing Party or the opposing Party’s counsel. Counsel for the Parties may identify this case, its

            9     nature, the fact that it settled, and the terms of the Settlement on their personal or firm resumes and
           10     on their websites.

           11              11.7. This Agreement shall be subject to, governed by, construed, and enforced pursuant

           12     to the laws of California.

           13              11.8. Any individual signing this Agreement on behalf of any Person represents and

           14     warrants that he or she has full authority to execute and enter into the terms and conditions of this

           15     Agreement on behalf of such Person.

           16              11.9. The Settling Parties and each Settlement Class Member irrevocably submit to the
           17     exclusive jurisdiction of the Court for any suit, action, proceeding or dispute arising out of or

           18     relating to this Agreement or the applicability of the Agreement and its exhibits, but for no other

           19     purpose.

           20              11.10.All agreements made and orders entered during the course of Litigation relating to

           21     the confidentiality of information shall survive this Agreement, including but not limited to those

           22     relating to all information exchanged for purposes of mediation or under the auspices of Federal

           23     Rule of Evidence 408.

           24              11.11.Any notice, instruction, application for Court approval or application for Court orders

           25     sought in connection with this Agreement or other document to be given by any Party to any other

           26     Party shall be in writing and delivered by email, if to Defendant to the attention of the Defendant’s
           27     counsel, or if to the Settlement Class to Class Counsel, or to other recipients as the Court may

           28
                                                                 27
                                              SETTLEMENT AGREEMENT AND RELEASE
                                                    Case No. 3:21-cv-03355-WHO
 
 
                         
                              
                                     
                                          
                                                  
                                                     
                                                        
                    Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 28 of 60




            1     specify.

            2              11.12.This Agreement may be executed by the Settling Parties or their authorized

            3     representatives in one or more counterparts, each of which shall be deemed an original but all which

            4     together shall constitute one and the same instrument. Scanned signatures or signatures sent by

            5     email or facsimile shall be as effective as original signatures.

            6                   [REMAINDER OF THIS PAGE INTENTIONALLY LEFT BLANK]
            7

            8

            9
           10

           11

           12

           13

           14

           15

           16
           17

           18

           19

           20

           21

           22

           23

           24

           25

           26
           27

           28
                                                                 28
                                              SETTLEMENT AGREEMENT AND RELEASE
                                                    Case No. 3:21-cv-03355-WHO
 
 
                         
                              
                                     
                                          
                                                  
                                                     
                                                        
                    Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 29 of 60




            1                                  IT IS SO AGREED TO BY THE PARTIES:
            2             

            3    Dated: June ___, 2022
            4
                                                             DESIREE SCHMITT
            5

            6

            7    Dated: June ___, 2022                       SN SERVICING CORPORATION
            8

            9
           10                                                BY:
           11
                                                             ITS:
           12

           13

           14
                                [REMAINDER OF THIS PAGE INTENTIONALLY LEFT BLANK]
           15

           16
           17

           18

           19

           20

           21

           22

           23

           24

           25

           26
           27

           28
                                                                 29
                                              SETTLEMENT AGREEMENT AND RELEASE
                                                    Case No. 3:21-cv-03355-WHO
Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 30 of 60
 
   
                               
                                      
                                           
                                                   
                                                      
                                                         
                     Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 31 of 60




            1                                     IT IS SO STIPULATED BY COUNSEL:
            2                

            3    Dated: June ___, 2022                        LAW OFFICE OF MITCHELL CHYETTE
            4

            5                                                 Mitchell Chyette
                                                              Attorney for Plaintiff
            6                                                 Desiree Schmitt and the Settlement Class
            7               

                 Dated: June ___, 2022                        DANN LAW
            8

            9
                                                              Marc E. Dann
           10                                                 Attorney for Plaintiff
                                                              Desiree Schmitt and the Settlement Class
           11
                             
           12    Dated: June ___, 2022                        ZIMMERMAN LAW OFFICES, P.C.
           13

           14
                                                              Thomas A. Zimmerman, Jr.
           15                                                 Attorney for Plaintiff
                                                              Desiree Schmitt and the Settlement Class
           16
           17    Dated: June ___, 2022                        MINTZ LEVIN COHN FERRIS GLOVSKY AND POPEO, P.C.

           18

           19                                                 Joshua Briones
                                                              Arameh Zargham O’Boyle
           20                                                 E. Crystal Lopez
                                                              Attorneys for Defendant
           21                                                 SN Servicing Corporation

           22

           23

           24

           25

           26
           27

           28
                                                                  30
                                               SETTLEMENT AGREEMENT AND RELEASE
                                                     Case No. 3:21-cv-03355-WHO
Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 32 of 60
                 Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 33 of 60
                                        SN Servicing Data Breach Settlement
                                           Case No. 3:21-cv-03355-WHO
                                      UNITED STATES DISTRICT COURT FOR
                                    THE NORTHERN DISTRICT OF CALIFORNIA

                                                       CLAIM FORM

You may receive a payment if you properly and timely complete this Claim Form, the Settlement is approved, and you are found to be
eligible for a payment. To submit a Claim for a payment from the Settlement Fund, please fill out the Claim Form below and
submit it via U.S. mail to the address below. You may also file a Claim Form online at
www.SNDataBreachSettlement.com. The deadline to file a claim online is 11:59 p.m. PDT on ___________________,
2022. If you send in a Claim Form by U.S. Mail, it must be postmarked on or before ___________________, 2022.

You may receive a payment of either $75 (Tier 1) or $25 (Tier 2), depending on whether your Social Security number was
exposed in the data breach. These amounts may be increased or decreased depending on the number of claims submitted.

 *Name:
            (First Name / MI / Last Name or Business Name)

 *Street Address 1:

 *Street Address 2:

 *City:

 *State:

 *Zip Code:                                 --

 *Telephone Number:                                    --                    --
                                     (Telephone Number where you can be reached)

 Email Address:


*I attest and certify that to the best of my knowledge I received a notice from SN Servicing Corporation stating that my personal
information may have been exposed in a data breach.


*Signature: ___________________________________________                       *Date: __________________________

Please select the manner in which payment will be issued for your valid Claim.

          □ PayPal: ___________________________ [Your PayPal Email Address]
          □ Venmo: ___________________________ [Phone Number associated with your Venmo account]
          □ Zelle: ___________________________ [Phone Number associated with your Zelle account]
          □ Virtual Prepaid Card: ___________________________ [Your Email Address]
          □ Paper Check via Mail

As part of the settlement, you are also entitled to 1 year of free myTrueIdentity credit monitoring and identity theft
protection services from TransUnion. Please indicate whether you would like this free service:

          □ Yes, I would like free credit monitoring         □ No, I do not want free credit monitoring



                                                         EXHIBIT A
              Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 34 of 60


To submit a Claim by U.S. Mail, send your completed Claim Form to:

SN Servicing Data Breach Settlement
c/o Angeion Group
_[ADDRESS]___________________
_[ADDRESS]___________________

The Class Notice describes your legal rights and options. You can obtain the Class Notice and further information about
the Litigation, the Settlement Agreement, and your legal rights and options on the official Settlement website,
www.SNDataBreachSettlement.com, or by calling 1-800-xxx-xxxx.
      Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 35 of 60




To: All individuals identified by SN Servicing Corporation and to whom SN Servicing
Corporation sent notice that their information may have been exposed in the Security
Incident defined below (the “Settlement Class Members”).

A proposed Settlement has been reached in a class action lawsuit titled, Schmitt v. SN Servicing
Corporation, Inc., Case No. 3:21-cv-03355-WHO (N.D. Cal.). The lawsuit asserted claims against
Defendant SN Servicing Corporation related to a data security incident whereby third parties may
have accessed Defendant’s customers’ personal information in connection with unauthorized
access to Defendant’s electronic files on or about October 15, 2020 (the “Security Incident”). SN
Servicing Corporation notified consumers about the Security Incident in January and July 2021.
Defendant denies all of the claims and denies that it did anything wrong.

The Settlement offers payments to Settlement Class Members who were sent notice that they were
potentially affected by the Security Incident. The amount paid will depend upon how many people
submit valid claims and whether:

   1) the Settlement Class Member potentially had their Social Security Number exposed in the
      Security Incident (preliminarily set at $75.00 per Settlement Class Member in this category
      and subject to adjustment based on the number of claims made); or
   2) the Settlement Class Member potentially had their personal information, but not Social
      Security Number, exposed in the Security Incident (preliminarily set at $25.00 per Settlement
      Class Member and subject to adjustment based on the number of claims made).

If you are a Settlement Class Member, your options are:

SUBMIT A             You must submit a valid claim form to receive a payment from this
CLAIM FORM           Settlement. The deadline to submit a Claim Form is ________, 2022.
DEADLINE:

DO NOTHING           You will receive no payment and will no longer be able to sue Defendant over
                     the claims resolved in the Settlement.
EXCLUDE              You may exclude yourself from this Settlement and keep your right to sue
YOURSELF             separately. If you exclude yourself, you receive no payment. Exclusion
                     instructions are provided in this notice. The deadline to exclude yourself is
DEADLINE:            ________, 2022
OBJECT               If you do not exclude yourself, you may write to the Court to state why you
DEADLINE:            do not like the Settlement by following the instructions in this notice. The
                     Court may reject your objection. You must still file a claim if you desire any
                     monetary relief under the Settlement. The deadline to object to the Settlement
                     is ________, 2022

The court must give final approval to the settlement before it takes effect, but has not yet done so.
No payments will be made until after the court gives final approval and any appeals are resolved.




                                           EXHIBIT B
      Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 36 of 60




Please review this notice carefully. You can learn more about the Settlement by visiting
www.SNDataBreachSettlement.com.com or by calling 1-800-XXX-XXXX.

                    Further Information about this Notice and the Lawsuit

1.    Why was this Notice issued?

You received this notice because you may be a Settlement Class Member able to receive payment
from a proposed settlement of the class action lawsuit Schmitt v. SN Servicing Corporation, Inc.,
Case No. 3:21-cv-03355-WHO (the “Lawsuit”), filed in United States District Court for the
Northern District of California. The Court authorized this Notice to advise Settlement Class
Members about the proposed Settlement that will affect their legal rights. The Notice explains
certain legal rights and options you have in connection with that settlement.

2.    What is the Lawsuit about?

The Lawsuit is a proposed class action lawsuit brought on behalf of SN Servicing Corporation
customers whose Personal Information may have been accessed and/or compromised by
unauthorized individuals as part of the Security Incident. The potentially-exposed information
(“Personal Information”) may include borrowers’ names, address, billing information, social
security number, date of birth, driver’s license information, and bank account information.

The Lawsuit claims Defendant is legally responsible for the Security Incident and asserts various
legal claims, including negligence and violations of Unfair Competition Law, Bus. & Prof. Code §
17200, et seq. Defendant denies these claims and denies that it did anything wrong.

3.    Why is the Lawsuit a class action?

In a class action, one or more representative plaintiffs bring a lawsuit on behalf of others who have
similar claims. Together, all of these people are the “class” and each individually is a “class
member.” There is one Representative Plaintiff in this case: Desiree Schmitt. The class in this case
is referred to in this Notice as the “Settlement Class.”

4.    Why is there a Settlement?

The Representative Plaintiff in the Lawsuit, through her attorneys, investigated the facts and law
relating to the issues in the Lawsuit. The Representative Plaintiff and Class Counsel believe that
the settlement is fair, reasonable, and adequate and will provide substantial benefits to the Class.
The Court has not decided whether the Representative Plaintiff’s claims or Defendant’s defenses
have any merit, and it will not do so if the proposed settlement is approved. By agreeing to settle,
both sides avoid the cost and risk of a trial, and people who submit valid claims will receive
compensation. The settlement does not mean that Defendant did anything wrong, or that the
Representative Plaintiff and the Class would or would not win their case if it were to go to trial.




                                                 2
      Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 37 of 60




                               Terms of the Proposed Settlement

5.      Who is in the Settlement Class?

The Settlement Class is defined by the Court as all Persons whose Personal Information was
accessed by unknown third parties during the Security Incident.

6.      What are the terms of the Settlement?

The proposed Settlement would create a Settlement Fund of $900,000.00 that would be used to pay
all costs of the settlement, including: (i) payments to Settlement Class Members who submit valid
claims; (ii) costs of Claims Administration; (iii) any attorneys’ fees and expenses awarded by the
Court to Class Counsel (up to $270,000); and (iv) any service award to the Representative Plaintiff
awarded by the Court (up to $5,000). The Settlement also releases all claims or potential claims of
Settlement Class Members against Defendant arising from or related to the Security Incident, as
detailed in the Settlement Agreement.

7.      What claims are Settlement Class Members giving up under the Settlement?

Settlement Class Members who do not validly exclude themselves from the Settlement will be bound
by the Settlement Agreement and any final judgment entered by the Court, and will give up their right
to sue Defendant for the claims being resolved by the Settlement, including all claims or potential
claims of Settlement Class Members against Defendant arising from or related to the Security
Incident. The claims that Settlement Class Members are releasing are described in Section 1.30 of the
Settlement Agreement, and the persons and entities being released from those claims are described in
Section 1.31 of the Settlement Agreement. Section VIII of the Settlement Agreement explains when
such releases will occur.

                       Settlement Benefits to Settlement Class Members

8.      What kind of payments can Settlement Class Members receive?

Settlement Class Members who submit valid claims may receive one of two types of payments to
be paid from the Settlement Fund: (1) a Tier 1 Award; or (2) a Tier 2 Award. Settlement Class
Members may receive only one Award. Depending on how many valid claims are submitted, the
amount of each Award may be adjusted upward or downward proportionally among Settlement
Class Members submitting valid claims, as explained further below in Question 11. Only one
Settlement Claim may be submitted per Settlement Class Member.

9.      What is a Tier 1 Award?

Settlement Class Members who potentially had their Social Security number exposed in the Security
Incident will receive $75.00, subject to upward or downward adjustment depending upon how many
Settlement Class Members file claims.




                                                 3
       Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 38 of 60




10.     What is a Tier 2 Award?

Settlement Class Members who potentially had Personal Information, but not their Social Security
number, exposed in the Security Incident will receive $25.00, subject to upward or downward
adjustment depending upon how many Settlement Class Members file claims.

11.     When and how will the amount of Settlement Payments be adjusted?

The amounts paid for both Tier 1 & 2 Awards will be adjusted upward or downward from the
amounts listed in Questions 9-10 above depending on how many Settlement Class Members
submit valid claims.

If the total dollar value of all valid claims is less than the amount of money available in the Settlement
Fund for payment of Settlement Class Member claims at the amounts listed in Questions 9-10 above,
the amount of payment for Tier 1 & 2 Awards will be adjusted upward proportionally among all
valid claims.

If the total dollar value of all valid claims is more than the amount of money available in the
Settlement Fund for payment of Settlement Class Member claims at the amounts listed in
Questions 9-10 above, the Tier 1 & 2 Awards will be adjusted downward proportionally among
all valid claims.

12.     What happens after all claims are processed and there are funds remaining?

If there are any funds remaining after all valid claims are processed and the time to cash any
payment checks has passed, those funds shall be distributed as directed by the Court, including
potential distribution to a charitable organization. No remaining funds will be returned to
Defendant.

13.     Credit Monitoring and Identity Theft Protection.

As additional relief provided in this Settlement, the parties have agreed that Defendant shall
purchase one additional year of myTrueIdentity credit monitoring and identity theft protection
services for all Settlement Class Members who affirmatively opt into myTrueIdentity protection
on their Claim Form. There is no charge to you if you choose to accept this service.

                           Your Options as a Settlement Class Member

14.     If I am a Settlement Class Member, what options do I have?

If you are a Settlement Class Member, you do not have to do anything to remain in the Settlement.
However, if you wish to seek a Settlement Award, you must complete and submit a Claim
Form postmarked or submitted online by _________, 2022. You may submit a Claim Form
online at www.SNDataBreachSettlement.com.




                                                    4
       Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 39 of 60




If you do not want to give up your right to sue Defendant about the Security Incident or the issues
raised in this case, you must exclude yourself (or “opt out”) from the Settlement Class. See
Question 18 below for instructions on how to exclude yourself.

If you object to the settlement, you must remain a Settlement Class Member (i.e., you may not also
exclude yourself from the Settlement Class by opting out) and file a written objection with the Clerk
of the Court at the address in Question 21 below. If you object, you must still submit a claim if you
want any monetary relief.

15.     What happens if I do nothing?

If you do nothing, you will get no Settlement Award from this Settlement. Unless you exclude
yourself, after the Settlement is granted final approval and the judgment becomes final, you will be
bound by the judgment and you will never be able to start a lawsuit, continue with a lawsuit, or be
part of any other lawsuit against Defendant related to the claims released by the Settlement.

16.     How do I submit a claim?

You may complete the Claim Form online at www.SNDataBreachSettlement.com. You may also
obtain a paper Claim Form by downloading it at www. SNDataBreachSettlement.com or by
calling the claims administrator at 1-800-xxx-xxxx. If you choose to complete a paper Claim Form
you may either submit the completed and signed Claim Form and any supporting materials
electronically at www. SNDataBreachSettlement.com or mail them to:

               Angeion Group
               Address
               Address

17.     Who decides my Settlement claim and how do they do it?

The Claims Administrator will initially decide whether a Claim Form is complete and valid. The
Claims Administrator may require additional information from any claimant. Failure to timely
provide all required information will invalidate a claim and it will not be paid.

18.     How do I exclude myself from the Settlement?

You must make a written request that (a) lists the caption of this Litigation, Desiree Schmitt v. SN
Servicing Corp., Case No. 21-cv-3355; (b) states your full name, address and telephone number;
(c) contains your personal and original signature or the original signature of a person authorized
by law to act on your behalf with respect to a claim or right such as those asserted in the Litigation,
such as a trustee, guardian or person acting under a power of attorney; and (d) states unequivocally
your intent to be excluded from the Settlement. You must mail your request to this address:

               Angeion Group
               Address



                                                  5
       Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 40 of 60




                Address

        Your request must be postmarked by ____________, 2022.

19.     If I exclude myself, can I receive any payment from this Settlement?

No. If you exclude yourself, you will not be entitled to any Award. However, you will also not be
bound by any judgment in this Lawsuit.

20.     If I do not exclude myself, can I sue Defendant for the Security Incident later?

No. Unless you exclude yourself, you give up any right to sue Defendant for the claims that this
Settlement resolves. You must exclude yourself from the Settlement Class to start your own
lawsuit or to be part of any different lawsuit relating to the claims in this case. If you exclude
yourself, do not submit a Claim Form requesting a payment.

21.     How do I object to the settlement?

All Settlement Class Members who do not request exclusion from the Settlement Class have the
right to object to the settlement or any part of it. You can ask the Court to deny approval by filing
an objection. You can’t ask the Court to order a different settlement; the Court can only approve
or reject the Settlement. If the Court denies approval, no settlement payments will be sent out and
the lawsuit will continue. If that is what you want to happen, you must object.

Any objection to the proposed Settlement must be in writing and it, and any supporting papers,
must be submitted to the Court by mailing it to the Clerk of Court, United States District Court for
the Northern District of California, 450 Golden Gate Avenue, San Francisco, CA 94102, or by
filing it in person at any location of the United States District Court for the Northern District of
California. Objections must be filed or postmarked no later than _____________, 2022.

To be considered by the Court, your objection must list the name of this Lawsuit, Schmitt v. SN
Servicing Corporation, Case No. 3:21-cv-03355-WHO, and include all of the following
information: (i) your name, address, phone number, and an email address (if you have one); (ii) a
statement that you are a member of the Settlement Class and any proof of your membership (e.g., a
copy of a notice of the Security Incident sent to your physical or email address); (iii) a statement as
to whether your objection applies only to yourself, to a specific subset of the Settlement Class, or to
the entire Settlement Class; (iv) a detailed statement of the specific legal and factual bases for all of
your objections, along with any applicable legal support; (v) the identity of any lawyer representing
you; (vi) a statement whether you intend to appear at the Final Approval Hearing, and the identity
of any lawyer(s) who will attend that hearing with you or on your behalf; (vii) a list of anyone you
plan to have testify at the Final Approval Hearing in support of your objection; and (viii) your
signature and the signature of your attorney or other authorized representative.

If you file a timely written objection, you may, but are not required to, appear at the Final Approval
Hearing, either in person or through your own attorney. If you appear through your own attorney, you
are responsible for hiring and paying that attorney.

                                                   6
       Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 41 of 60




                                Court Approval of the Settlement

22.     How, when and where will the Court decide whether to approve the Settlement?

The Court will hold a Final Approval Hearing to decide whether to approve the Settlement.
That hearing is scheduled for __________, 2022 at _____.m. at the United States District Court
for the Northern District of California, 450 Golden Gate Avenue, San Francisco, CA 94102. Please
visit the Court’s website at https://www.cacd.uscourts.gov for current information regarding
courthouse access, court hearings, and filing information. At the Final Approval Hearing, the Court
will consider whether the settlement is fair, reasonable, and adequate. If there are timely objections,
the Court will consider them and will listen to people who have properly requested to speak at the
hearing. The Court will also consider Class Counsel’s request for attorneys’ fees and expenses,
and the request for a service award for the Representative Plaintiff. After the hearing, the Court
will decide whether to approve the Settlement.

It is possible the Court could reschedule the hearing to a different date or time without notice, so
it is a good idea before the hearing to check www.SNDataBreachSettlement.com or access the
Court docket in this case, for a fee, through the Court’s Public Access to Court Electronic Records
(PACER) system at https://www.ecf.cand.uscourts.gov to confirm the schedule if you wish to
attend.

23.     Do I have to attend the hearing?

No. You do not need to attend the Final Approval Hearing unless you object to the settlement and
wish to appear in person. It is not necessary to appear in person in order to make an objection; the
Court will consider any written objections properly submitted according to the instructions in
Question 21. You or your own lawyer are welcome to attend the hearing at your expense, but are
not required to do so.

24.     What happens if the Court approves the Settlement?

If the Court approves the Settlement and no appeal is taken, the Settlement Fund will be funded.
The Claims Administrator will pay any Attorney Fees’ Award and any Representative Plaintiff
Award from the Settlement Fund. Then, within the later of 90 days after the Effective Date or 30
days after all disputed claims have been resolved, the Claims Administrator will send Settlement
Payments to Settlement Class Members who submitted timely and valid Settlement Claims. No
distributions will be made without authorization from the parties.

If any appeal is taken, it is possible the Settlement could be disapproved on appeal.

25.     What happens if the Court does not approve the Settlement?

If the Court does not approve the Settlement, no Settlement Fund will be created, there will be no
Settlement Payments to Settlement Class Members, Class Counsel or the Representative Plaintiff,
and the case will proceed as if no Settlement had been attempted.



                                                  7
      Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 42 of 60




                       Lawyers for the Settlement Class and Defendant

26.     Who represents the Settlement Class?

The Court has appointed the following Class Counsel to represent the Settlement Class and
Settlement Class Members in this Lawsuit:

 Mitchell Chyette
 Law Office of Mitchell Chyette
 125 12th Street, Suite 100-BALI
 Oakland, CA 94607-3699
 Phone: (510) 388-3748
 Fax: (510) 680-3760
 Email: mitch@chyettelaw.com

 Marc E. Dann
 Dann Law
 15000 Madison Avenue
 Cleveland, OH 44107
 Phone: (216) 373-0537
 Fax: (216) 373-0536
 Email: mdann@dannlaw.com; notices@dannlaw.com

 Thomas A. Zimmerman, Jr.
 Zimmerman Law Offices, P.C.
 77 West Washington Street, Suite 1220
 Chicago, Illinois 60602
 Phone: (312) 440-0020
 Fax: (312) 440-4180
 Email: tom@attorneyzim.com


Settlement Class Members will not be charged for the services of Class Counsel; Class Counsel
will be paid out of the Settlement Fund, subject to Court approval. However, you may hire your
own attorney at your own cost to advise you in this matter or represent you in making an objection
or appearing at the Final Approval Hearing.

27.     How will the lawyers for the Settlement Class be paid?

Class Counsel will request the Court’s approval of an award for attorneys’ fees up to 30% of the
Settlement Fund (or up to $270,000), plus reasonable expenses, which shall be paid from the
Settlement Fund. Class Counsel will also request approval of service award of up to $5,000 for the
Representative Plaintiff, which shall also be paid from the Settlement Fund.




                                                8
       Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 43 of 60




28.     Who represents Defendant in the Lawsuit?

Defendant is represented by the following lawyers:

      Joshua Briones
      jbriones@mintz.com
      Arameh Zargham O’Boyle
      azoboyle@mintz.com
      E. Crystal Lopez
      eclopez@mintz.com
      Matthew Novian
      mjnovian@mintz.com
      MINTZ LEVIN COHN FERRIS GLOVSKY AND POPEO P.C.
      2029 Century Park East, Suite 3100
      Los Angeles, CA 90067
      Telephone: (310) 586-3200
      Facsimile: (310) 586-3202

                                   For Further Information

29.    What if I want further information or have questions?

This notice summarizes the proposed Settlement. For the precise terms and conditions of the
Settlement, please see the Settlement Agreement available at www.SNDataBreachSettlement.com,
by contacting Class Counsel at the phone numbers provided in Question 26 above, by accessing
the Court docket in this case, for a fee, through the Court’s Public Access to Court Electronic
Records (PACER) system at https://ecf.cand.uscourts.gov, or by visiting the office of the Clerk of
the Court for the United States District Court for the Northern District of California, 450 Golden
Gate Avenue, San Francisco, CA 94102, between 9:00 a.m. and 4:00 p.m., Monday through
Friday, excluding Court holidays.

Angeion Group, LLC will act as the Claims Administrator for the Settlement. You can contact the
Claims Administrator at:

                                            Address
                                            Address
                                        1-800-xxx-xxxx




                                                9
      Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 44 of 60




 1   Joshua Briones (SBN 205293)
     jbriones@mintz.com
 2   Arameh Zargham O’Boyle (SBN 239495)
     azoboyle@mintz.com
 3   E. Crystal Lopez (SBN 296297)
     eclopez@mintz.com
 4   Matthew Novian (SBN 324144)
     mjnovian@mintz.com
 5   MINTZ LEVIN COHN FERRIS GLOVSKY AND POPEO P.C.
     2029 Century Park East, Suite 3100
 6   Los Angeles, CA 90067
     Telephone: (310) 586-3200
 7   Facsimile: (310) 586-3202

 8   Attorneys for Defendant,
     SN SERVICING CORPORATION
 9

10                                UNITED STATES DISTRICT COURT

11                               NORTHERN DISTRICT OF CALIFORNIA

12                                   SAN FRANCISCO DIVISION

13   DESIREE SCHMITT, individually and on       Case No. 3:21-cv-03355-WHO
     behalf of all others similarly situated,
14                                              [PROPOSED] FINAL APPROVAL
                   Plaintiffs,                  ORDER AND JUDGMENT
15
            vs.                                 Case Assigned to Hon. William H. Orrick
16
     SN SERVICING CORPORATION, an Alaska        Complaint Filed:    March 12, 2021
17   Corporation,                               Trial Date:         None Yet
18                 Defendant
19

20

21

22

23

24

25

26
27

28                                  EXHIBIT C
                                               1
                    [PROPOSED] FINAL APPROVAL ORDER AND JUDGMENT
                                 Case No. 3:21-cv-03355-WHO
         Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 45 of 60




 1           On ___________, 2022, the Court entered an order granting preliminary approval (the

 2   “Preliminary Approval Order”) to the _____________, 2022 Settlement Agreement and Release

 3   (“Settlement Agreement”) between Plaintiff Desiree Schmitt, individually and on behalf of the

 4   Settlement Class (as defined below), and Defendant SN Servicing Corporation.1

 5           Commencing on _________, 2022, pursuant to the notice requirements in the Settlement

 6   Agreement and the Preliminary Approval Order, Angeion Group (the “Claims Administrator”),

 7   provided Notice to Settlement Class Members in compliance with Section IV of the Settlement

 8   Agreement and the Notice Program, due process, and Rule 23 of the Federal Rules of Civil

 9   Procedure. The notice:

10          (a)    fully and accurately informed Settlement Class Members about the Litigation and the

11                 existence and terms of the Settlement Agreement;

12          (b)    advised Settlement Class Members of their right to request exclusion from the

13                 Settlement and provided sufficient information so that Settlement Class Members

14                 were able to decide whether to accept the benefits offered, opt out and pursue their

15                 own remedies, or object to the proposed settlement;

16          (c)    provided procedures for Settlement Class Members to file written objections to the

17                 proposed settlement, to appear at the Final Approval Hearing, and to state objections

18                 to the proposed settlement; and
19          (d)    provided the time, date, and place of the Final Approval Hearing.

20           On ________, 2022, the Court held a Final Approval Hearing to determine whether the

21   proposed settlement is fair, reasonable and adequate and whether judgment should be entered

22   dismissing this Litigation with prejudice. The Court reviewed (a) Plaintiff’s Motion for Final

23   Approval of Class Action Settlement and Plaintiff’s Motion for an Award of Attorneys’ Fees,

24   Reimbursement of Expenses and Service Awards (together, the “Motions”) and all supporting

25   materials, including but not limited to the Settlement Agreement and the exhibits thereto; (b) any

26   objections filed with or presented to the Court; and (c) the Parties’ responses to any objections. The
27
     1
             Capitalized terms used in this Final Approval Order shall have the same meaning as defined
28           in the Settlement Agreement unless otherwise expressly stated.
                                                      2
                      [PROPOSED] FINAL APPROVAL ORDER AND JUDGMENT
                                        Case No. 3:21-cv-03355-WHO
      Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 46 of 60




 1   Court also considered the oral argument of counsel and any objectors who appeared. Based on this

 2   review and the findings below, the Court finds good cause to grant the Motions.

 3           IT IS HEREBY ORDERED:
 4           1.    The Court has jurisdiction over the subject matter of this Litigation, all claims raised

 5   therein, and all Parties thereto, including the Settlement Class.

 6           2.    The Settlement Agreement is fair, reasonable, adequate and in the best interests of

 7   Settlement Class Members. The Settlement Agreement was negotiated at arm’s-length, in good

 8   faith and without collusion, by capable and experienced counsel, with full knowledge of the facts,

 9   the law, and the risks inherent in litigating the Litigation, and with the active involvement of the

10   Parties and a third party mediator. Moreover, the Settlement Agreement confers substantial benefits

11   on the Settlement Class Members, is not contrary to the public interest, and will provide the Parties

12   with repose from litigation. The Parties faced significant risks, expense, and/or uncertainty from

13   continued litigation of this matter, which further supports the Court’s conclusion that the settlement

14   is fair, reasonable, adequate and in the best interests of the Settlement Class Members.

15           3.    The Court grants final approval of the Settlement Agreement in full, including but

16   not limited to the releases therein and the procedures for distribution of the Settlement Fund. All

17   Settlement Class Members who have not excluded themselves from the Settlement Class are bound

18   by this Final Approval Order and Judgment.
19           4.    The Parties shall carry out their respective obligations under the Settlement

20   Agreement in accordance with its terms. The relief provided for in the Settlement Agreement shall

21   be made available to the various Settlement Class Members submitting valid Claim Forms,

22   pursuant to the terms and conditions in the Settlement Agreement. The Settlement Agreement is

23   incorporated herein in its entirety as if fully set forth herein and shall have the same force and effect

24   of an order of this Court.

25                        OBJECTIONS AND REQUESTS FOR EXCLUSION
26           5.    ____ objections to the Settlement were submitted by Settlement Class Members. The
27   Court has considered all objections and finds that they do not warrant or support rejection or non-

28
                                                 3
                      [PROPOSED] FINAL APPROVAL ORDER AND JUDGMENT
                                   Case No. 3:21-cv-03355-WHO
      Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 47 of 60




 1   approval of the Settlement. All objections are hereby overruled in all respects. All persons who did

 2   not object to the Settlement in the manner set forth in the Settlement Agreement are deemed to

 3   have waived any objections, including but not limited to by appeal, collateral attack, or otherwise.

 4          6.     _____ persons made valid and timely requests to be excluded from the Settlement

 5   and the Settlement Class (the “Opt-Out Members”). The Opt-Out Members are not bound by the

 6   Settlement Agreement and this Final Approval Order and Judgment and shall not be entitled to any

 7   of the benefits afforded to Settlement Class Members under the Settlement Agreement.

 8                        CERTIFICATION OF THE SETTLEMENT CLASS
 9          7.     Solely for purposes of the Settlement Agreement and this Final Approval Order and

10   Judgment, the Court hereby certifies the following Settlement Class:

11         All Persons whose Personal Information was accessed by unknown third parties during
           unauthorized access to Defendant’s electronic files on or about October 15, 2020.
12
            8.     The Court incorporates its preliminary conclusions in the Preliminary Approval
13
     Order regarding the satisfaction of Federal Rules of Civil Procedure 23(a) and 23(b). Because the
14
     Settlement Class is certified solely for purposes of settlement, the Court need not address any issues
15
     of manageability for litigation purposes.
16
            9.     The Court grants final approval to the appointment of Representative Plaintiff
17
     Desiree Schmitt as the class representative, and concludes that she has fairly and adequately
18
     represented the Settlement Class and shall continue to do so.
19
            10.    The Court grants final approval to the appointment of the Law Office of Mitchell
20
     Chyette, Dann Law, and Zimmerman Law Offices, P.C. as Class Counsel. Class Counsel have
21
     fairly and adequately represented the Settlement Class and shall continue to do so.
22
                                         NOTICE TO THE CLASS
23
            11.    The Court finds that the Notice Program, set forth in the Settlement Agreement and
24
     effectuated pursuant to the Preliminary Approval Order: (i) was the best notice practicable under
25
     the circumstances; (ii) was reasonably calculated to provide, and did provide due and sufficient
26
     notice to the Settlement Class regarding the existence and nature of the Litigation, certification of
27
     the Settlement Class for settlement purposes only, the existence and terms of the Settlement
28
                                                 4
                      [PROPOSED] FINAL APPROVAL ORDER AND JUDGMENT
                                   Case No. 3:21-cv-03355-WHO
      Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 48 of 60




 1   Agreement, and the rights of Settlement Class Members to exclude themselves from the Settlement,

 2   to object and appear at the Final Approval Hearing, and to receive benefits under the Settlement

 3   Agreement; and (iii) satisfied the requirements of the Federal Rules of Civil Procedure, the United

 4   States Constitution, and all other applicable law.

 5                     ATTORNEYS’ FEES AND COSTS, SERVICE AWARDS
 6           12.   The Court awards Class Counsel $____________ in fees and reimbursement of

 7   $_____________ in costs. The Court finds these amounts to be fair and reasonable. Payment shall

 8   be made from the Settlement Fund pursuant to the procedures in paragraph 9.3 of the Settlement

 9   Agreement.

10           13.   The Court awards $______ to the Representative Plaintiff as a service award. The

11   Court finds this amount is justified by her service to the Settlement Class. Payment shall be made

12   from the Settlement Fund pursuant to the procedures in paragraph 9.3 of the Settlement Agreement.

13                                                RELEASE
14           14.   Each Settlement Class Member, including Representative Plaintiff, are: (1) deemed

15   to have completely and unconditionally released, forever discharged and acquitted Defendant and

16   the other Released Persons from any and all of the Released Claims (including Unknown Claims)

17   as defined in the Settlement Agreement; and (2) barred and permanently enjoined from asserting,

18   instituting, or prosecuting, either directly or indirectly, these claims. The full terms of the release
19   described in this paragraph are set forth in Paragraphs 1.30-1.31 and 8.1 of the Settlement

20   Agreement and are specifically approved and incorporated herein by this reference (the “Release”).

21   In addition, Representative Plaintiff and Settlement Class Members are deemed to have waived (i)

22   the provisions of California Civil Code § 1542, which provides that a general release does not

23   extend to claims that the creditor or releasing party does not know or suspect to exist in his or her

24   favor at the time of executing the release and that, if known by him or her, would have materially

25   affected his or her settlement with the debtor or released party, and (ii) any law of any state or

26   territory of the United States that is similar, comparable, or equivalent to California Civil Code §
27   1542.

28
                                                 5
                      [PROPOSED] FINAL APPROVAL ORDER AND JUDGMENT
                                   Case No. 3:21-cv-03355-WHO
      Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 49 of 60




 1          15.    The Settlement Agreement and this Final Approval Order and Judgment apply to all

 2   claims or causes of action settled under the Settlement Agreement, and binds Representative

 3   Plaintiff and all Settlement Class Members who did not properly request exclusion. The Settlement

 4   Agreement and this Final Approval Order and Judgment shall have maximum res judicata,

 5   collateral estoppel, and all other preclusive effect in any and all causes of action, claims for relief,

 6   suits, demands, petitions, or any other challenges or allegations that arise out of or relate to the

 7   subject matter of the Litigation and/or the Complaint.

 8                                         OTHER PROVISIONS
 9          16.    The Settlement Fund, consisting of nine hundred thousand dollars and no cents

10   ($900,000.00), shall be used to pay all costs of the settlement, including all Awards and payments

11   to Settlement Class Members, costs of Claims Administration, the Attorneys’ Fees and Expenses

12   Award to Class Counsel, and the Representative Plaintiff’s Service Award.

13          17.    If any money remains in the Settlement Fund after the payment of all Settlement

14   payments to Settlement Class Members, costs of Claims Administration, the Attorneys’ Fees and

15   Expenses Award to Class Counsel, and the Representative Plaintiff’s Service Award, the Parties

16   shall return to the Court seeking direction as to the disposition of these funds, including the

17   selection of a cy pres recipient, pursuant to paragraph 7.6 of the Settlement Agreement.

18          18.    The Settlement Agreement and this Final Approval Order and Judgment, and all
19   documents, supporting materials, representations, statements and proceedings relating to the

20   settlement, are not, and shall not be construed as, used as, or deemed evidence of, any admission

21   by or against Defendant of liability, fault, wrongdoing, or violation of any law, or of the validity or

22   certifiability for litigation purposes of the Settlement Class or any claims that were or could have

23   been asserted in the Litigation.

24          19.    The Settlement Agreement and this Final Approval Order and Judgment, and all

25   documents, supporting materials, representations, statements and proceedings relating to the

26   settlement shall not be offered or received into evidence, and are not admissible into evidence, in
27   any action or proceeding, except that the Settlement Agreement and this Final Approval Order and

28
                                                 6
                      [PROPOSED] FINAL APPROVAL ORDER AND JUDGMENT
                                   Case No. 3:21-cv-03355-WHO
      Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 50 of 60




 1   Judgment may be filed in any action by Defendant or the Settlement Class Members seeking to

 2   enforce the Settlement Agreement or the Final Approval Order and Judgment.

 3          20.    Consistent with paragraph 10.4 of the Settlement Agreement, if the Effective Date

 4   does not occur for any reason, the following will occur: (a) the Final Approval Order and Judgment

 5   and all of its provisions, will be vacated, including, but not limited to the Attorneys’ Fees and

 6   Expenses Award and the Representative Plaintiff’s Service Award, and the Final Approval Order

 7   and Judgment will not waive, release or otherwise impact the Parties’ rights or arguments in any

 8   respect; and (b) the Litigation will revert to the status that existed before the Settlement

 9   Agreement’s execution date, and the Parties shall be restored to their respective positions in the

10   Litigation as if the Settlement Agreement had never been entered into. No term or draft of the

11   Settlement Agreement, or any part of the Parties’ settlement discussions, negotiations, or

12   documentation, will have any effect or be admissible in evidence for any purpose in the Litigation.

13          21.    Without affecting the finality of this Final Approval Order and Judgment, the Court

14   will retain jurisdiction over this Litigation and the Parties with respect to the interpretation,

15   implementation and enforcement of the Settlement Agreement for all purposes.

16          22.    The Court hereby dismisses this case in its entirety with prejudice, and without fees

17   or costs except as otherwise provided for herein.

18          NOW, THEREFORE, the Court hereby enters judgment in this matter pursuant to rule 58
19   of the Federal Rules of Civil Procedure.

20         IT IS SO ORDERED:
21

22

23
                                                     HONORABLE WILLIAM H. ORRICK
24                                                   U.S. DISTRICT COURT JUDGE
25

26
27

28
                                                7
                     [PROPOSED] FINAL APPROVAL ORDER AND JUDGMENT
                                  Case No. 3:21-cv-03355-WHO
      Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 51 of 60




 1   Joshua Briones (SBN 205293)
     jbriones@mintz.com
 2   Arameh Zargham O’Boyle (SBN 239495)
     azoboyle@mintz.com
 3   E. Crystal Lopez (SBN 296297)
     eclopez@mintz.com
 4   Matthew Novian (SBN 324144)
     mjnovian@mintz.com
 5   MINTZ LEVIN COHN FERRIS GLOVSKY AND POPEO P.C.
     2029 Century Park East, Suite 3100
 6   Los Angeles, CA 90067
     Telephone: (310) 586-3200
 7   Facsimile: (310) 586-3202

 8   Attorneys for Defendant,
     SN SERVICING CORPORATION
 9

10                                UNITED STATES DISTRICT COURT

11                               NORTHERN DISTRICT OF CALIFORNIA

12                                   SAN FRANCISCO DIVISION

13   DESIREE SCHMITT, individually and on       Case No. 3:21-cv-03355-WHO
     behalf of all others similarly situated,
14                                              [PROPOSED] ORDER GRANTING
                   Plaintiffs,                  PLAINTIFF’S UNOPPPOSED MOTION
15                                              FOR PRELIMINARY APPROVAL OF
            vs.                                 CLASS ACTION SETTLEMENT
16
     SN SERVICING CORPORATION, an Alaska        Case Assigned to Hon. William H. Orrick
17   Corporation,
                                                Complaint Filed:    March 12, 2021
18                 Defendant                    Trial Date:         None Yet
19

20

21

22

23

24

25

26
27

28                                      EXHIBIT D
                                               1
      [PROPOSED] ORDER GRANTING PLAINTIFF’S UNOPPPOSED MOTION FOR PRELIMINARY
            APPROVAL OF CLASS ACTION SETTLEMENT (Case No. 3:21-cv-03355-WHO)
      Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 52 of 60




 1          This matter is before the Court on Plaintiff’s unopposed motion for preliminary approval of

 2   the proposed class action settlement. Plaintiff, individually and on behalf of the proposed

 3   Settlement Class, and Defendant have entered into a Settlement Agreement and Release, dated

 4   April __, 2022 (the “Settlement Agreement”) that, if approved, would settle the above-captioned

 5   litigation. Having considered the motion, the Settlement Agreement together with all exhibits and

 6   attachments thereto, the record in this matter, and the briefs and arguments of counsel, IT IS
 7   HEREBY ORDERED as follows:
 8          1.     Unless otherwise defined herein, all terms that are capitalized herein shall have the

 9   same meanings ascribed to those terms in the Settlement Agreement.

10          2.     The Court has jurisdiction over this litigation, Representative Plaintiff, Defendant,

11   and Settlement Class Members, and any party to any agreement that is part of or related to the

12   Settlement Agreement.

13                                    PRELIMINARY APPROVAL
14          3.     The Court has reviewed the terms of the proposed Settlement Agreement, the exhibits

15   and attachments thereto, Plaintiff’s motion papers and briefs, and the declarations of counsel and

16   the Claims Administrator. Based on its review of these papers, the Court finds that the Settlement

17   Agreement appears to be the result of serious, informed, non-collusive negotiations conducted with

18   the assistance of Herbert Hoffman, Esq. of Judicate West during a day-long mediation session on
19   February 17, 2022, through which the basic terms of the settlement were negotiated and finalized.

20   The Court further observes that the Settlement Agreement is the product of an informal exchange

21   of fact discovery. The terms of the Settlement Agreement fall within the range of possible approval

22   as fair, reasonable, and adequate.

23          4.     The Court therefore GRANTS preliminary approval of the Settlement Agreement

24   and all of the terms and conditions contained therein.

25                 PRELIMINARY CERTIFICATION OF SETTLEMENT CLASS
26          5.     Pursuant to Federal Rule of Civil Procedure 23, the Court preliminarily certifies, for
27   settlement purposes only, the Settlement Class defined in the Settlement Agreement as follows:

28
                                                      2
      [PROPOSED] ORDER GRANTING PLAINTIFF’S UNOPPPOSED MOTION FOR PRELIMINARY
            APPROVAL OF CLASS ACTION SETTLEMENT (Case No. 3:21-cv-03355-WHO)
      Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 53 of 60




 1         All Persons whose Personal Information was accessed by unknown third parties during
           unauthorized access to Defendant’s electronic files on or about October 15, 2020.
 2
            6.      The Court preliminarily finds that the Settlement Class satisfies the requirements of
 3
     Federal Rule of Civil Procedure 23(a) for settlement purposes: (1) the Settlement Class is so
 4
     numerous that joinder of all members is impracticable, as there are more than 200,000 Settlement
 5
     Class Members; (2) there are questions of law or fact common to the Settlement Class, including
 6
     (a) whether Defendant owed a duty to Settlement Class Members to safeguard their Personal
 7
     Information, (b) whether Defendant implemented adequate security measures to protect Settlement
 8
     Class Members’ Personal Information, (c) whether Defendant breached a duty to safeguard
 9
     Settlement Class Members’ Personal Information, (d) whether Defendant timely notified
10
     Settlement Class Members of the data security incident, and (e) whether Defendant is liable for
11
     damages allegedly suffered by Settlement Class Members arising from the data security incident;
12
     (3) the Representative Plaintiff’s claims are typical of those of Settlement Class Members, as the
13
     claims are based on the same legal and factual issues, and Defendant’s alleged conduct was uniform
14
     to the Representative Plaintiff and Settlement Class Members; and (4) the Representative Plaintiff
15
     will fairly and adequately protect the interests of the Settlement Class, as the Representative
16
     Plaintiff has participated in this litigation, attended the mediation, and retained counsel competent
17
     and experienced in complex class actions.
18
            7.      The Court preliminarily finds that the Settlement Class satisfies the requirements of
19
     Federal Rule of Civil Procedure 23(b)(3) for settlement purposes: (1) the questions of law or fact
20
     common to the Settlement Class predominate over individual questions; and (2) class action
21
     litigation is superior to other available methods for the fair and efficient adjudication of this
22
     controversy.
23
            8.      The Court hereby appoints Desiree Schmitt as the Representative Plaintiff of the
24
     Settlement Class.
25
            9.      The Court hereby appoints as Class Counsel the Law Office of Mitchell Chyette,
26
     Dann Law, and Zimmerman Law Offices, P.C.
27
                                   NOTICE AND ADMINISTRATION
28
                                                      3
      [PROPOSED] ORDER GRANTING PLAINTIFF’S UNOPPPOSED MOTION FOR PRELIMINARY
            APPROVAL OF CLASS ACTION SETTLEMENT (Case No. 3:21-cv-03355-WHO)
      Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 54 of 60




 1          10.    Pursuant to the Settlement Agreement, the Parties have designated Angeion Group,

 2   LLC as the Claims Administrator. Angeion Group shall perform all the duties of the Claims

 3   Administrator set forth in the Settlement Agreement.

 4          11.    The Court finds that the Class Notice and Notice Program set forth in the Settlement

 5   Agreement satisfy the requirements of due process and Rule 23 of the Federal Rules of Civil

 6   Procedure and provide the best notice practicable under the circumstances. The Class Notice and

 7   Notice Program are reasonably calculated to apprise Settlement Class Members of the nature of

 8   this Litigation, the scope of the Settlement Class, the terms of the Settlement Agreement, the right

 9   of Settlement Class Members to object to the Settlement Agreement or exclude themselves from

10   the Settlement Class and the process for doing so, and of the Final Approval Hearing. The Court

11   therefore approves the Class Notice and Notice Program and directs the parties and the Claims

12   Administrator to proceed with providing notice to Settlement Class Members pursuant to the terms

13   of the Settlement Agreement and this Order.

14          12.    The Claims Administrator shall commence the Notice Program within the time

15   required by the Settlement Agreement.

16          13.    The Court also approves the Claim Form attached as Exhibit A to the Settlement

17   Agreement.

18                                 EXCLUSION AND OBJECTIONS
19          14.    Settlement Class Members who wish to opt-out and exclude themselves from the

20   Settlement Class may do so by notifying the Claims Administrator in writing, postmarked no later

21   than ______________, 2022. To be valid, each request for exclusion must be made in writing and:

22   (a) list the caption of this Litigation, Desiree Schmitt v. SN Servicing Corp., Case No. 21-cv-3355;

23   (b) state the Settlement Class Member’s full name, address and telephone number; (c) contain the

24   Settlement Class Member’s personal and original signature or the original signature of a person

25   authorized by law to act on the Settlement Class Member’s behalf with respect to a claim or right

26   such as those asserted in the Litigation, such as a trustee, guardian or person acting under a power
27   of attorney; and (d) state unequivocally the Settlement Class Member’s intent to be excluded from

28
                                                      4
      [PROPOSED] ORDER GRANTING PLAINTIFF’S UNOPPPOSED MOTION FOR PRELIMINARY
            APPROVAL OF CLASS ACTION SETTLEMENT (Case No. 3:21-cv-03355-WHO)
      Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 55 of 60




 1   the Settlement. All Requests for Exclusion must be submitted individually in connection with a

 2   Settlement Class Member, i.e., one request is required for every Settlement Class Member seeking

 3   exclusion.

 4           15.   All Settlement Class Members who do not opt out and exclude themselves shall be

 5   bound by the terms of the Settlement Agreement upon entry of the Final Approval Order and

 6   Judgment.

 7           16.   Settlement Class Members who wish to object to the Settlement may do so by filing

 8   a written objection with the Court in accordance with the procedures outlined in the Class Notice,

 9   filed or postmarked no later than ____________, 2022. Any Settlement Class Member wishing to

10   object to the Settlement Agreement shall mail the objection to the Court at: Clerk of Court, United

11   States District Court for the Northern District of California, 450 Golden Gate Avenue, San

12   Francisco, CA 94102. The written objection must list the name of this Lawsuit, Schmitt v. SN

13   Servicing Corporation, Case No. 3:21-cv-03355-WHO, and contain all of the following: (i) the

14   objector’s full name, address, telephone number, and e-mail address (if any); (ii) information

15   identifying the objector as a Settlement Class Member, including proof that the objector is a

16   member of the Settlement Class; (iii) a statement as to whether the objection applies only to the

17   objector, to a specific subset of the Settlement Class, or to the entire class; (iv) a clear and detailed

18   written statement of the specific legal and factual bases for each and every objection, accompanied
19   by any legal support for the objection the objector believes applicable; (v) the identity of any

20   counsel representing the objector; (vi) a statement whether the objector intends to appear at the

21   Final Approval Hearing, either in person or through counsel, and, if through counsel, identifying

22   that counsel; (vii) a list of all persons who will be called to testify at the Final Approval Hearing in

23   support of the objection; and (viii) the objector’s signature and the signature of the objector’s duly

24   authorized attorney or other duly authorized representative.

25           17.   Any Settlement Class Member who does not timely submit a written objection in

26   accordance with these procedures and the procedures detailed in the Class Notice and Settlement
27   Agreement shall be deemed to have waived any objection, shall not be permitted to object to the

28
                                                        5
      [PROPOSED] ORDER GRANTING PLAINTIFF’S UNOPPPOSED MOTION FOR PRELIMINARY
            APPROVAL OF CLASS ACTION SETTLEMENT (Case No. 3:21-cv-03355-WHO)
      Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 56 of 60




 1   Settlement, and shall be precluded from seeking any review of the Settlement Agreement and/or

 2   the Final Approval Order by appeal or other means.

 3                                   FINAL APPROVAL HEARING
 4          18.    The Court will hold a Final Approval Hearing at _________ m. on __________, 2022

 5   in the United States District Court for the Northern District of California, 450 Golden Gate Avenue,

 6   San Francisco, CA 94102.

 7          19.    At the Final Approval Hearing, the Court will consider whether: (a) the Settlement is

 8   fair, reasonable, and adequate; (b) the Settlement Class should be finally certified for settlement

 9   purposes; (c) a final judgment should be entered; (d) Class Counsel’s motion for attorneys’ fees

10   and costs should be granted; and (e) the service award sought for Representative Plaintiff should

11   be granted.

12          20.    The Court reserves the right to continue the date of the Final Approval Hearing

13   without further notice to Settlement Class Members.

14                         DEADLINES, INJUNCTION & TERMINATION
15                     EVENT                                DATE
      Defendant to provide Settlement Class 14 days after entry of the Preliminary
16    Member data to Claims Administrator   Approval Order
17    Notice Program per Settlement Agreement 30 days after the date of entry of the
      commences with the establishment of the Preliminary Approval Order
18    settlement website
19    Class Counsel’s Motion for Attorneys’ Fees 35 days prior to the Objection Deadline
      and Costs and Service Award
20
      Opt-Out and Objection Deadlines                 75 days after entry of the Preliminary
21                                                    Approval Order
      Claims Deadline                                 100 days after entry of the Preliminary
22                                                    Approval Order
      Motion for Final Approval                       14 days prior to the Final Approval Hearing
23
            21.    All proceedings and deadlines in this matter, except those necessary to implement
24
     this Order and the settlement, are hereby stayed and suspended until further order of the Court.
25

26
27

28
                                                      6
      [PROPOSED] ORDER GRANTING PLAINTIFF’S UNOPPPOSED MOTION FOR PRELIMINARY
            APPROVAL OF CLASS ACTION SETTLEMENT (Case No. 3:21-cv-03355-WHO)
      Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 57 of 60




 1          22.    All Settlement Class Members who do not validly opt out and exclude themselves

 2   are hereby enjoined from pursuing or prosecuting any of the Released Claims as set forth in the

 3   Settlement Agreement until further order of the Court.

 4          23.    In the event that the Settlement Agreement is terminated pursuant to the terms of the

 5   Settlement Agreement: (a) the Settlement Agreement and this Order shall become void, shall have

 6   no further force or effect, and shall not be used in the Litigation or any other proceedings for any

 7   purpose other than as may be necessary to enforce the terms of the Settlement Agreement that

 8   survive termination; (b) this matter will revert to the status that existed before execution of the

 9   Settlement Agreement; and (c) no term or draft of the Settlement Agreement or any part of the

10   Settling Parties’ settlement discussions, negotiations or documentation (including any briefs filed

11   in support of preliminary or final approval of the settlement) shall (i) be admissible into evidence

12   for any purpose in this Litigation or in any other action or proceeding other than as may be

13   necessary to enforce the terms of the Settlement Agreement that survive termination, (ii) be deemed

14   an admission or concession by any Settling Party regarding the validity of any of the Released

15   Claims or the propriety of certifying any class against Defendant, or (iii) be deemed an admission

16   or concession by any Settling Party regarding the truth or falsity of any facts alleged in the

17   Litigation or the availability or lack of availability of any defense to the Released Claims.

18          IT IS SO ORDERED.
19

20

21

22                                                    HONORABLE WILLIAM ORRICK
                                                      U.S. DISTRICT COURT JUDGE
23

24

25

26
27

28
                                                       7
      [PROPOSED] ORDER GRANTING PLAINTIFF’S UNOPPPOSED MOTION FOR PRELIMINARY
            APPROVAL OF CLASS ACTION SETTLEMENT (Case No. 3:21-cv-03355-WHO)
       Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 58 of 60



[DATE]


[Class Member Name]
[Address]
[Address]

        Re: Notice of Class Action Settlement

YOU MAY BE A CLASS MEMBER IN A PROPOSED CLASS ACTION SETTLEMENT IF SN
SERVICING CORPORATION PREVIOUSLY NOTIFIED YOU THAT YOUR INFORMATION
MAY HAVE BEEN EXPOSED IN A DATA SECURITY INCIDENT THAT AFFECTED ITS
ELECTRONIC FILES.
A proposed settlement has been given preliminary approval in a class action lawsuit against SN Servicing
Corporation (“SNSC”) related to a data security incident on or about October 15, 2020 whereby third parties
may have accessed SNSC’s customers’ personal information. This incident was previously disclosed to
consumers by SNSC in January and July 2021. The lawsuit is Schmitt v. SN Servicing Corporation, United
States District Court, Northern District of California, Case No. 3:21-cv-03355-WHO. SNSC denies all of
the claims and denies that it did anything wrong.
The sole purpose of this notice is to inform you of the lawsuit and the settlement so that you may
decide what steps to take in relation to it.

The Settlement provides for the payment to Settlement Class Members of either a $75 Tier 1 Award or a $25
Tier 2 Award. The amount paid as an Award may increase or decrease depending upon, among other things,
how many people submit valid claims. The settlement also provides for 1 year of free credit monitoring and
identity theft protection.

More information regarding the settlement, including information on the Award, your rights under the
settlement, instructions on how to be excluded from the settlement or object to the settlement, and a form
to fill-out to obtain a monetary Award, please visit www.SNDataBreachSettlement.com, where you will
find a more detailed notice and pertinent case documents.

This notice summarizes the proposed settlement. For the precise terms and conditions of the settlement,
please see the settlement agreement available at www.SNDataBreachSettlement.com, by contacting class
counsel Marc Dann at (216) 373-0537 or Tom Zimmerman at (312) 440-0020, by accessing the Court
docket in this case, for a fee, through the Court’s Public Access to Court Electronic Records (PACER)
system at https://ecf.cand.uscourts.gov, or by visiting the office of the Clerk of the Court for the United
States District Court for the Northern District of California, 450 Golden Gate Avenue, San Francisco, CA
94102, between 9:00 a.m. and 4:00 p.m., Monday through Friday, excluding Court holidays.

There are deadlines associated with the choices you may make regarding the settlement. The last day
to exclude yourself from the settlement or to object to the settlement is __________, 2022. The last
day to submit a claim for settlement benefits is __________, 2022.

The Court will hold a hearing on _________, 2022, at which time the Court will consider any objections,
decide what attorneys’ fees, expenses, and service award to award, and decide whether to approve the
settlement. This date may change without further notice to you, so you should check the settlement website
www.SNDataBreachSettlement.com, or the Court’s PACER website https://ecf.cand.uscourts.gov to
confirm that the date has not changed.




                                             EXHIBIT E
    Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 59 of 60



PLEASE DO NOT TELEPHONE THE COURT OR THE COURT CLERK’S OFFICE TO INQUIRE
ABOUT THIS SETTLEMENT OR THE CLAIM PROCESS.
            Case 3:21-cv-03355-WHO Document 50-1 Filed 06/17/22 Page 60 of 60


Schmitt v. SN Servicing Corp.,                                     Legal Notice of Class Action
Settlement [Settlement                                                     Settlement                         FIRST-CLASS
Administrator address]                                                                                        MAIL US
                                                                                                              POSTAGE

Why am I getting this Notice? You may be a class member
in a proposed class action settlement if SN Servicing                              [Class member]
Corporation previously notified you that your information
may have possibly been exposed in a data breach that affected
its electronic files.



For more information on the settlement, see
the reverse of this card or go to
www.SNDataBreachSettlement.com




                                      Class Action Settlement in Schmitt v. SN Servicing Corporation.

YOU MAY BE A CLASS MEMBER IN A PROPOSED CLASS ACTION SETTLEMENT IF SN SERVICING
CORPORATION PREVIOUSLY NOTIFIED YOU THAT YOUR INFORMATION MAY HAVE BEEN EXPOSED IN A
DATA SECURITY INCIDENT THAT AFFECTED ITS ELECTRONIC FILES.
A proposed settlement has been given preliminary approval in a class action lawsuit against SN Servicing Corporation (“SNSC”)
related to a data security incident on or about October 15, 2020 whereby third parties may have accessed SNSC’s customers’ personal
information. This incident was previously disclosed to consumers by SNSC in January and July 2021. The lawsuit is Schmitt v. SN
Servicing Corporation, United States District Court, Northern District of California, Case No. 3:21-cv-03355-WHO. SNSC denies all
of the claims and denies that it did anything wrong.

The sole purpose of this notice is to inform you of the lawsuit and the settlement so that you may decide what steps to take in
relation to it.

The Settlement provides for the payment to Settlement Class Members of either a $75 Tier 1 Award or a $25 Tier 2 Award. The amount
paid as an Award may increase or decrease depending upon, among other things, how many people submit valid claims. The settlement also
provides for 1 year of free credit monitoring and identity theft protection.

More information regarding the settlement, including information on the Award, your rights under the settlement, instructions on how
to be excluded from the settlement or object to the settlement, and a form to fill-out to obtain a monetary Award, please visit
www.SNDataBreachSettlement.com, where you will find a more detailed notice and pertinent case documents.

There are deadlines associated with the choices you may make regarding the settlement. The last day to exclude yourself from
the settlement or to object to the settlement is _________, 2022. The last day to submit a claim for settlement benefits is
__________, 2022.

Please visit www.SNDataBreachSettlement.com to obtain important information regarding the settlement and your rights.




                                                                EXHIBIT F
